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10

11                           UNITED STATES DISTRICT COURT

12                                  DISTRICT OF ARIZONA

13
     Frank Jarvis Atwood,                        )   CASE NO. ___________________
                                                 )
14                                               )
                    Plaintiff,                   )
15                                               )
                                                 )
           v.                                    )    COMPLAINT FOR DECLARATORY
16                                               )    AND INJUNCTIVE RELIEF
       DAVID SHINN, Director, Arizona            )
17                                               )
       Department of Corrections, Rehabilitation )
18     & Reentry; JAMES KIMBLE, Warden, )            This is a capital case.
       ASPC-Eyman; JEFF VAN WINKLE,              )
                                                 )
19     Warden, ASPC-Florence; LANCE              )   EXECUTION WARRANT ISSUED FOR
       HETMER, Assistant Director for Prison )       JUNE 8, 2022, 10:00 A.M.
20     Operations, Arizona Department of         )
                                                 )
       Corrections, Rehabilitation & Reentry;    )
21
       MARK BRNOVICH, Attorney General of )
                                                 )
22     Arizona; JOHN DOE, Arizona-licensed )
       Pharmacist,                               )
23                                               )
                    Defendants.                  )
24

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 1                                         COMPLAINT

 2        1. Plaintiff Frank J. Atwood, through his counsel, seeks both preliminary and
 3   permanent relief, requesting this Court declare and enforce his rights under the Eighth
 4
     Amendment to the United States Constitution, the Americans with Disabilities Act, the
 5
     Rehabilitation Act, 18 U.S.C. § 3599, and 42 U.S.C. § 1983, and issue an injunction
 6
     commanding defendants not to carry out any method of execution as set forth in the
 7
     applicable promulgation of the Arizona Department of Corrections, Rehabilitation and
 8
     Reentry (the “Department”). The resulting execution protocols and procedures, facially and
 9
     as applied to Plaintiff, pose an unnecessary risk of causing substantial pain and suffering
10

11   in violation of his right to be free from the infliction of cruel and unusual punishments. The

12   Arizona Supreme Court has issued a warrant for Plaintiff’s execution scheduled June 8,

13   2022 and to transpire for 24 hours from time of commencement. Defendants have set 10:00

14   a.m. as the time of commencement.

15   I.      INTRODUCTION
16        2. If the State is to be allowed to execute people, Courts have held fast to the
17
     requirement, as a fundamental matter of decency, that they not do so in a way that is
18
     unnecessarily painful. It is death itself that is the punishment, not the method of its
19
     infliction.
20
          3. Arizona has undertaken to give its condemned a choice, enshrined in its
21
     Constitution, between two methods: lethal injection or lethal gas. That choice means
22
     nothing if one or both of the options are illegal, and for Frank Atwood, the ways the State
23

24   has chosen to implement each of these options does not meet minimal constitutional

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                                                   2
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 1   standards.

 2         4. Mr. Atwood, a devout Orthodox Christian, is now 66 years old, wheelchair-bound,
 3   and in constant pain from a degenerative spinal condition, which has worsened
 4
     significantly as he has received decades of inadequate care from the State.
 5
           5. The way Arizona has chosen to conduct lethal injections, its default option, requires
 6
     the inmate to be stretched flat on his back on a gurney—something that with his condition,
 7
     Frank Atwood cannot do without suffering unimaginable pain. The State has also been
 8
     careless with its execution drugs, failing to keep its own promises to ensure that it only
 9
     uses drugs that have not expired and have passed important quality checks, according to
10

11   the minimum standards considered medically acceptable.

12         6. For its other option, lethal gas, Arizona has inexplicably chosen cyanide gas—the

13   gas used by Nazi Germany to commit a genocide in the 1940s and widely acknowledged

14   to cause an especially painful death—when other lethal gasses that could accomplish an

15   execution with far less suffering are available.
16         7. Arizona promised Mr. Atwood he could choose the method by which the State ends
17
     his life, something it has a constitutional duty to do in a manner that is consistent with
18
     evolving standards of decency. Instead, he has been given the choice between two forms
19
     of torture, when non-tortuous possibilities exist.
20
     II.      PARTIES
21
           8. Frank J. Atwood is a state prisoner incarcerated at the Arizona State Prison
22
     Complex—Eyman, housed in its Browning Unit. He is imprisoned under a death sentence
23

24   entered in the Arizona Superior Court in 1987 and faces an execution date of June 8, 2022,

25
                                                    3
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 1   due to a warrant of the Arizona Supreme Court entered May 3, 2022.

 2      9. Defendant Mark Brnovich is the Attorney General of Arizona, is the chief legal
 3   officer of the state, and has general supervisory authority over county and local prosecutors.
 4
     Attorney General Brnovich is responsible for initiating and pursuing the execution process
 5
     for state prisoners under sentence of death. Further, the Attorney General is responsible for
 6
     the administration of the victims’ rights program, which administers a plan for assisting
 7
     and monitoring state and local entities that are required to implement and comply with
 8
     victims’ rights laws, including A.R.S. §13-4433(B). See A.R.S. § 41-191.06. Attorney
 9
     General Brnovich is sued in his official capacity and is alleged to have acted in all regards
10

11   under color of state law.

12      10. Defendant David Shinn is the director of the Arizona Department of Corrections,

13   Rehabilitation and Reentry. He is being sued in his official capacity, and is alleged to have

14   acted in all regards under color of state law. He is responsible for the oversight and

15   enforcement of policies and procedures generally applicable to all prisons and all prisoners
16   and is responsible for carrying out Mr. Atwood’s execution.
17
        11. Defendant James Kimble is the warden of ASPC-Eyman. He is being sued in his
18
     official capacity, and is alleged to have acted in all regards under color of state law.
19
        12. Defendant Jeff Van Winkle is the warden of ASPC-Florence. He is being sued in
20
     his official capacity, and is alleged to have acted in all regards under color of state law.
21
        13. Defendant Lance Hetmer is the Assistant Director for Prison Operations of
22
     ADCRR. Arizona’s execution protocol charges him with “the planning and overall
23

24   direction of all pre-execution, execution and post-execution activities.” He is being sued in

25
                                                   4
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 1   his official capacity, and is alleged to have acted in all regards under color of state law.

 2         14. Defendant John Doe, anonymous pharmacist retained by Arizona Department of
 3   Corrections, Rehabilitation and Reentry to conduct pharmaceutical compounding of high-
 4
     risk compounded sterile preparations, including but not limited to pentobarbital sodium
 5
     solution for use in executions, including the execution of Plaintiff ordered to occur on June
 6
     8, 2022. He is alleged to have acted in all regards under color of state law.
 7
     III.     JURISDICTION
 8
           15. This case arises under the United States Constitution and presents a federal question
 9
     within this Court’s jurisdiction under Article III of the Constitution and 28 U.S.C. § 1331
10

11   and 28 U.S.C. § 1343(3). This action is brought pursuant to 42 U.S.C. § 1983. Further, 28

12   U.S.C. § 2254 is implicated also.1

13         16. The Court has the authority to grant declaratory relief pursuant to the Declaratory

14   Judgment Act, 28 U.S.C. §§ 2201 and 2202.

15         17. The Court has the authority to award costs and attorneys’ fees under 42 U.S.C. §
16   1988.
17
     IV.      VENUE
18
              18.    Venue is proper in this District under 28 U.S.C. § 1391(b). Defendants are
19

20

21
     1
       Controlling authority dictates that a challenge to method of execution be brought under
     42 U.S.C. § 1983. See Hill v. McDonough, 547 U.S. 573 (2006); Bucklew v.
22   Precythe, 139 S.Ct. 1112 (2019). However, when the alternative method proposed by the
     inmate is not presently available under state law, it is unsettled whether the challenge
23   should be brought instead as a petition for a writ of habeas corpus under 28 U.S.C. §
     2254, and a case raising that question was recently argued in the Supreme Court. See
24   Nance v. Ward, No. 21-439 (argued April 25, 2022).
25
                                                     5
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 1   sued in their official capacities, and their official places of business are located within this

 2   District. The events giving rise to this complaint have occurred or will occur within this
 3   District.
 4
     V.       EXHAUSTION OF ADMINISTRATIVE REMEDIES
 5
           19. Plaintiff attempted to exhaust any available administrative remedies. Defendants
 6
     failed to process his grievances.
 7
     VI.      FACTS REGARDING MR. ATWOOD’S MEDICAL CONDITION
 8
           A. Mr. Atwood Is Wheelchair-bound from Degenerative Spinal Disease, a
 9            Severely Painful Condition Worsened by the Deliberate Indifference of the
              Department.
10
           20. Mr. Atwood, now 66 years old, has been incarcerated on Arizona’s death row in the
11
     custody of the Department since 1987. For most of the term of this incarceration, Mr.
12

13   Atwood has suffered from degenerative spondylosis in his spine, an excruciatingly painful

14   condition that has worsened significantly as he has received, in the care of the Department,

15   grossly insufficient medical treatment.

16         21. The treatment he was receiving was so inadequate to meet his medical needs that in
17   2020, he was forced to file a lawsuit against the Department simply to obtain a basic
18
     minimum standard of medical care. Atwood v. Days, No.: CV20-00623-PHX-JAT (JZB).
19
     A renowned orthopedic surgeon, Dr. Philip Davidson, evaluated him, and supported by a
20
     detailed declaration from Dr. Davidson, Mr. Atwood moved for a preliminary injunction,
21
     asking the Court to order the Department to restore minimally adequate treatment,
22
     including effective pain medication. The Court held an evidentiary hearing on October 29,
23
     2021, and on December 7, 2021, issued an Order (Exhibit 1) containing detailed findings
24

25
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 1   of fact about Mr. Atwood’s condition, which remain true today. The Court concluded Mr.

 2   Atwood had “shown a likelihood of success on the merits of his deliberate indifference
 3   claim regarding the treatment of his pain,” and that a reasonable jury could find the
 4
     Department’s healthcare contractor “failed to competently treat [Mr. Atwood]’s serious
 5
     pain needs and acted with deliberate indifference.” Id. at 13.
 6
        22. Based on extensive interview and detailed review of voluminous medical records
 7
     and imaging studies, Dr. Davidson opined that Mr. Atwood has “severe spondylosis with
 8
     severe radicular symptoms,” specifically including myelomalacia (softening of the spinal
 9
     cord due to hemorrhaging inside the spine) at vertebrae C5-C6 in the neck, causing
10

11   “radiating pain, weakness, and motor dysfunction.” Exhibit 2, Davidson Dec., ¶ 27. The

12   most painful condition he has, however, is in his lumbar (lower) spine, where neural

13   compression and degenerative spondylosis are “highly painful.” Id. ¶ 28.

14      23. Dr. Davidson opined that Mr. Atwood has critical need for both an interventional

15   pain specialist and an orthopedic spine surgeon or neurosurgeon to address is severe
16   chronic pain., id. ¶¶ 31-32, and that “to a great extent, more likely than not, his current state
17
     of spinal degeneration and symptomatology is a result of negligence and under-treatment
18
     rendered while this patient has been incarcerated by the State of Arizona.” Id. ¶ 34.
19
        24. Dr. Joel Zivot, a board-certified anesthesiologist, physically examined Mr. Atwood
20
     on May 16, 2022, as well as conducting a detailed record review. He, too, concluded that
21
     “Mr. Atwood suffers from intense and profoundly debilitating pain along his spine as a
22
     consequence of chronic degeneration of vertebral bodies” that have “caused multiple
23

24   compressions of the nerve roots as they pass from the spinal cord to the arms and legs,”

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                                                    7
26
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 1   which “has resulted in permanent damage that manifests as profound weakness and

 2   unremitting pain.” Exhibit 3, Zivot Dec, ¶ 6. He identified “among other indications of
 3   extreme disrepair, 16 instances of severe foraminal stenoses throughout his cervical and
 4
     lumbar spine,” causing pain that is “extremely difficult to treat.” Id. ¶ 8.
 5
        25. The position of Mr. Atwood’s body has a profound effect on the level of pain he
 6
     experiences. Dr. Zivot explains that Mr. Atwood “has identified how he can position his
 7
     body in an attempt to relieve the bony compression on his nerve roots,” but unfortunately,
 8
     that strategy “has also resulted in profound and permanent limitations of his body
 9
     mechanics.” Id. ¶ 9.
10

11      26. Both doctors agree that a slouched sitting position is the least painful for Mr.

12   Atwood. Dr. Davidson recognizes:

13      27. Mr. Atwood suffers constant pain. In order to minimize its severity, he seeks to

14   continually maintain a seated posture, either slouching in his wheelchair or partially

15   reclining on his back, in bed while attempting to sleep. This general condition causes
16   considerable sleeping difficulties. Since Fall 2020, he has experienced too much pain to
17
     sleep either on his side or his back. Lying flat on his back severely exacerbates his
18
     conditions, causing maximum pain. Ex. 2, ¶ 21.
19
        28. Dr. Zivot confirms:
20
            Mr. Atwood is unable to assume a recumbent position less than with his body
21          at approximately a 60 degree head up angle. His neck extension is also
            limited secondary to fusion of the 5th and 6th cervical vertebrae. When his
22          upper body is lowered to an angle less than 60 degrees, he experiences
            immediate and intense lower back pain, right greater than left, and radiating
23
            down the right leg to the knee. His right-side pain level is maximal, with the
24          left nearly at that maximum level. . . Any increase in recumbency results in

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 1          intense and immediate pain.

 2   Ex. 3, ¶ 10

 3      B. As Applied to Mr. Atwood, the Department’s Lethal Injection Protocol
           Would Superadd Significant Pain Not Necessary to Accomplish Execution.
 4
        29. Even if a compounded pentobarbital lethal injection is carried out on Mr. Atwood
 5
     exactly as planned under the Arizona Department of Corrections, Rehabilitation and
 6

 7   Reentry, Department Order 710 - Execution Procedures (effective Jun. 13, 2021, last

 8   revised Apr. 20, 2022), “Execution Procedures,” Exhibit 4, and even if pentobarbital can

 9   be a humane form of execution—although neither premise is established—such an

10   execution cannot be administered to Mr. Atwood in particular without superadding pain

11   well beyond what is needed to effectuate a death sentence as a consequence of his particular
12   physical condition.
13
        30. The Execution Procedures outline the execution process in great detail. The required
14
     steps include:
15
            13.5.2.2 Prior to moving the inmate from the holding cell to the execution
16          table, the Director shall confer with the Attorney General or designee and the
            Governor or designee to confirm there is no legal impediment to proceeding
17          with the lawful execution.
18          13.5.2.3 When the inmate is secured on the execution table by the team and
            readied by qualified medical personnel, the Warden shall advise the Director.
19
        31. In Attachment D, governing lethal injection, the Execution Procedures also state:
20
            D.5 After the inmate has been secured to the execution table, the Restraint
21          Team Leader shall personally check the restraints which secure the inmate to
            the table to ensure they are not so restrictive as to impede the inmate’s
22
            circulation, yet sufficient to prevent the inmate from manipulating the
23          catheter and IV lines.

24      32. Upon information and belief, the “execution table” referred to is a flat table with

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 1    two swiveling arm rests, both of which are extended during an execution so that the

 2    prisoner’s arms are perpendicular to the body. When “secured on the execution table,” the
 3    inmate is placed flat on his back and he is strapped down with leather straps from his ankles
 4
      to his chest with each arm secured and extended to the side.
 5
         33. The Department has been conducting executions by lethal injection since 1993. A
 6
      study of logs from the 14 executions prior to Arizona’s resumption of executions with Mr.
 7
      Dixon in May, 2022, reveals that inmates are often secured on the table for a significant
 8
      period of time before the actual administration of chemicals begins (as high as 54 minutes,
 9
      with a median of 23 minutes). Exhibit 5, Execution Charts. This occurs while corrections
10

11    personnel attempt to accomplish the delicate medical task of inserting an IV.

12       34. While lying down on one’s back while being held securely on the execution table

13    as the protocol requires may not pose difficulties for most inmates, for Frank Atwood, that

14    alone would likely be the most painful part of the execution procedure and would cause

15    him excruciating—and unnecessary—pain.
16       35. According to Dr. Davidson, “[b]eing strapped down to a gurney or table would
17
      cause [Mr. Atwood] severe pain. Sitting upright is considerably less painful for him. Ex.
18
      2, ¶ 21. It is his “professional opinion that Mr. Atwood cannot be placed in a supine position
19
      on a gurney, strapped in place and maintained as such for any length of time without
20
      experiencing severe and immediate exacerbation of pain.” Id. ¶ 29.
21
         36. Dr. Zivot confirms that “Mr. Atwood is not able to lie in a recumbent position on
22
      the execution table as a result of the experience of intense and untreatable pain,” (Ex. 3, ¶
23

24    14), and “[f]orcefully subjecting Mr. Atwood to be positioned as stated in the written

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                                                   10
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 1    execution procedures would result in subjecting Mr. Atwood to intense, excruciating, and

 2    unremitting pain from the moment he is so placed on the execution table and for the
 3    duration of his restraint in performance of the execution procedures.” Id. ¶ 17.
 4
         37. Both doctors opine that the only way to execute Mr. Atwood by lethal injection
 5
      without inflicting extreme additional pain would be to do so while Mr. Atwood remains
 6
      seated in a chair. Ex. 2,¶ 37; Ex. 3, ¶ 16.
 7
         38. The Execution Procedures do not contemplate the inmate being in a seated position,
 8
      or any position other than fully prone. It would not be possible to conduct a lethal injection
 9
      execution of Mr. Atwood under the current Execution Procedures without causing him
10

11    severe, unremitting pain.

12       39. Conducting an execution—even an execution by lethal injection—does not

13    inherently require the inmate to lie flat on his back; this is instead a requirement of the

14    specific method Arizona has chosen. The pain it would inflict on Mr. Atwood is thus well

15    beyond what is needed to effectuate a death sentence.
16       40. There is no penological or other justification for inflicting this unnecessary pain on
17
      Mr. Atwood, and subjecting him to this procedure amounts to the wanton infliction of pain
18
      with no legal justification.
19
         41. The Execution Procedures pose an additional problem for Mr. Atwood. Regarding
20
      IV lines, the Execution Procedures require that there be two possibilities, a peripheral IV
21
      catheter or, should personnel be unable to establish such a line, a central femoral line:
22
             3.2.5.4 The IV Team shall be responsible for inserting either peripheral IV
23
             catheters or a central femoral line as determined by the Director acting upon
24           the recommendation of the IV Team Leader. . . . A central femoral venous

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                                                    11
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 1           line shall not be used unless the person placing the line is currently qualified
             by experience, training, certification or licensure within the United States to
 2           place a central femoral line.
 3       42. If Mr. Atwood were to be in a seated position for his execution, it would not be
 4    possible to insert a central femoral line, should the corrections personnel be unable to
 5
      establish a peripheral IV line, because “[t]he bent at the waist positioning of Mr. Atwood
 6
      makes it not possible to access the femoral vein, which is located in the crease of the groin.”
 7
      Ex. 3, ¶ 16.
 8
         43. Nor would it be possible to insert a central line in the neck instead, even if the
 9
      Execution Procedures contemplated that, which they do not. This is because “[a]n
10
      intravenous central line inserted in the neck while sitting carries the high likelihood of
11
      causing a venous air embolus – air is sucked into the blood stream and enters the heart
12

13    resulting in a cardiac arrest.” Id.

14       44. In the Department’s most recent execution, of Clarence Dixon on May 11, 2022,

15    after attempting for approximately 17 minutes to insert a peripheral line, corrections

16    personnel ultimately attempted to insert a femoral central line. Exhibit 6, Bass dec., ¶¶ 5-
17    9. However, they struggled to accomplish that, too, ultimately making a set of incisions in
18
      his groin area that left staff cleaning up blood over the course of several minutes. Id. ¶¶ 10-
19
      12. Personnel whose skill level yielded that travesty could not safely insert an IV in Mr.
20
      Atwood, should they have any trouble establishing a peripheral catheter.
21
         45. An execution where there is no alternative to a peripheral IV catheter cannot be
22
      conducted under the current Execution Procedures.
23

24

25
                                                    12
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 1       C. Defendants Recognizes Legal Obligation to Comply with Lethal Injection
            Procedures, Yet Fail to Do So
 2
         46. The Department’s Execution Procedures include several specific provisions relating
 3
      to the requirements for drugs to be used in a lethal injection and the information that must
 4
      be provided to the condemned about those drugs at specific points in the process, to permit
 5

 6    the condemned to investigate, assess, and verify that information provided while there is

 7    still time before his execution. Those provisions, which appear in Attachment D, include a

 8    requirement that

 9           A.1.III. . . . ADC will only use chemicals in an execution that have an
             expiration or beyond-use date that is after the date that an execution is carried
10           out.
11    The Procedures in Attachment D also specify:
12           C.2. A quantitative analysis of any compounded or non-compounded
             chemical to be used in the execution shall be provided upon request within
13
             ten calendar days after the state seeks a Warrant of Execution.
14
         47. In October 2020, the Department paid $1.5 million to purchase a kilogram (1,000
15
      1-gram vials) of pentobarbital sodium salt from an undisclosed source to use in lethal
16
      injection executions. By March 2021, the Department’s Director communicated to the
17
      Attorney General of Arizona readiness to proceed with executions. Before seeking
18
      execution warrants in the Arizona Supreme Court, the Attorney General publicly identified
19
      20 individuals whom his office intended to execute during his elected term.
20
         48. On April 6, 2021, the State initiated novel litigation in the Arizona Supreme Court,
21

22    which depended on the State’s unsubstantiated representations about the eventual beyond-

23    use date (BUD) of injectable pentobarbital solution compounded from those vials of salt.

24    In short, the State wanted the Court to drastically shorten the time between its first request

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                                                    13
26
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 1    and the ultimate execution date so its drugs would not expire during the process. This

 2    litigation emanated from the State’s obligations under the Department’s Execution
 3    Procedures, and raised a central controversy: would the Department’s pharmacist be able
 4
      to establish a BUD later than execution dates that would be issued pursuant to the requested
 5
      schedule?
 6
         49. The litigation culminated in scheduling orders on May 21, 2021, for Mr. Clarence
 7
      Dixon and Mr. Atwood, based on the State’s representations that its drugs had a 90-day
 8
      BUD. But by June 22, 2021, the State threw back into question the central controversy
 9
      about the ability to establish a BUD when it conceded that prior representations of a 90-
10

11    day BUD were mistaken and asserted that the Department’s pharmacist had “revised” their

12    prior opinion. The State explained, “until certain specialized testing of a sample batch is

13    conducted,” there would not be a sufficient BUD after all to conduct an execution under

14    the schedule it had obtained from the Court. Exhibit 7, Motion to Modify. On July 21,

15    2021, the Court vacated its prior scheduling and instructed the State to return after
16    conducting “specialized testing to determine a beyond-use date for compounded doses of
17
      the drug.”
18
         50. On January 5, 2022, the State proclaimed in a new motion that the Department’s
19
      pharmacist had conducted “specialized testing” of injectable pentobarbital sodium made
20
      from the Department’s kilogram of salt to determine a BUD it would then apply to later-
21
      compounded batches, and was poised to compound batches with a standard BUD adequate
22
      to schedule executions under the previously considered time constraints. Exhibit 8, Motion.
23

24    The Arizona Supreme Court ultimately granted the State’s expedited motions for execution

25
                                                  14
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 1    dates for Mr. Dixon (May 11, 2022) and Mr. Atwood (June 8, 2022), but the State did not

 2    disclose an actual BUD for the drugs it intended to use in either execution.
 3       51. On May 3, 2022, Mr. Clarence Dixon filed suit in the District of Arizona concerning
 4
      the failure of the State to disclose the BUD of the drugs intended for his scheduled
 5
      execution—drugs the Department had compounded and tested the same way it intended to
 6
      proceed with Mr. Atwood’s drugs. Mr. Dixon then filed an emergency motion for
 7
      injunctive relief to which the State responded and cross-moved for dismissal. On May 6,
 8
      2022, District Judge Humetewa ordered Defendants to file, later that same day, a notice
 9
      “stat[ing] the Beyond Use Date for the compounded pentobarbital the State intends to use
10

11    to execute Plaintiff . . . and, [i]f unable to provide such specific information, the Notice

12    must explain to the Court why the State is unable to provide [the BUD].” Exhibit 9, Order.

13       52. The State then filed a notice, attaching as an exhibit a nine-paragraph declaration,

14    redacted and anonymized, from the Department’s compounding pharmacist, disclosing that

15    the pharmacist is an Arizona-licensed pharmacist who “follow[s] the guidelines and
16    requirements found in the United States Pharmacopeia.” Exhibit 10, Notice.              The
17
      pharmacist attested that they prepared a single test batch of sodium pentobarbital solution,
18
      which they “provided to a [sic] FDA registered laboratory for stability testing in order to
19
      establish the solution’s Beyond Use Date.” Id. The Department’s pharmacist then stated
20
      the “test results establish that the sodium pentobarbital solution has a Beyond Use Date of
21
      180 days from the date of initial testing.” Id. He considered this to constitute a “stability
22
      study.” The pharmacist then attested to having prepared the solution designated for Mr.
23

24    Dixon on February 26, 2022 (two days after the Stated moved this Court for Mr. Dixon’s

25
                                                   15
26
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 1    execution warrant) “from the same sodium pentobarbital powder that was used for the

 2    stability study.” Finally, the pharmacist concluded that “[b]ased on the stability study
 3    results, the Beyond Use Date of the solution I prepared on February 26, 2022 is August 25,
 4
      2022.” Id.
 5
         53. On May 8, 2022, in opposition to Mr. Dixon’s motion for injunctive relief, the State
 6
      argued the federal court “should allow Defendants to carry out Dixon’s execution [on May
 7
      11] with newly compounded pentobarbital that is within a BUD that does not require
 8
      stability testing. Exhibit 11, Opposition. On May 9, 2022, the parties settled the action by
 9
      Mr. Dixon’s acceptance of the State’s offer to compound a new batch of pentobarbital
10

11    sodium and supply “quantitative” analysis to Mr. Dixon that same day. Exhibit 12,

12    Stipulation. The pharmacist prepared the new drugs at that time.

13       54. Expert pharmacist James Ruble has explained that this “tight timeframe prevent[ed]

14    sterility and endotoxins testing,” as needed for “the detection of contaminants.” Exhibit 13,

15    Ruble dec., ¶ 52.
16       55. The only disclosures State has made about the BUD for Mr. Atwood’s drugs are
17
      third-party laboratory certificates for testing of a single sample batch of the prepared
18
      solution. The disclosures neither reflect any information about the methodology or
19
      procedures the pharmacist used in preparing the single test batch, nor the pharmacist’s
20
      analysis to calculate and establish a transferrable BUD from the bald laboratory numbers.
21
      As of yet, there is no evidence that the pharmacist has established any documented
22
      methodology for the testing designed to yield a BUD that may be assigned to subsequent
23

24    preparations. Id. ¶¶ 27- 29.

25
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26
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 1       56. As Dr. Ruble confirms, prevailing standards for such testing anticipate “a minimum

 2    of three batches and from each batch the provision of multiple samples.” Id. ¶ 29. Further,
 3    it is necessary to document the kinds of testing, the testing conditions, and the storage
 4
      conditions. Id. Prevailing standards recognize that the compounding ingredients—both the
 5
      active ingredient (in this case, pentobarbital sodium) and inactive ones—remain the same
 6
      in future batches and that documentation of this is maintained. Absent such identicality, a
 7
      BUD cannot be extrapolated to a subsequently prepared compound. Id.
 8
         57. Review of the third-party laboratory results the State provided reflect, on their face,
 9
      that the single test batch the Department’s pharmacist prepared failed to meet prevailing
10

11    USP standards. Id. ¶¶ 39-40. Specifically, the batch failed to satisfy the USP Monograph-

12    established pH range of 9.0 and 10.5, given that it returned a 10.6 pH. Such a result renders

13    the “batch . . . unusable and it is self-evident that a batch that would need to be discarded

14    cannot supply data for extrapolation to establishing BUDs for other batches.” Id.

15    “Elevation of a pH level outside the accepted parameters presents serious concerns,” id. ¶
16    43, due to “the exponential effects of pH deviations on the degradation of many drugs,
17
      certainly including high-risk sterile compounds such as pentobarbital sodium.” Id. ¶ 42.
18
      Elevated pH levels are susceptible to “catastrophic effects on venous endothelial cells,”
19
      which “constitute the inner lining of veins and comprise the site of actual contact between
20
      injected solutions, i.e., pentobarbital sodium, and the venous circulatory system.” Id. A pH
21
      reaching 11 could “strip[] away any buffer for the innumerable nerve endings throughout
22
      the venous system.” Id. ¶ 43.
23

24       58. Despite the failure of the pharmacist’s lone test batch to meet vital applicable

25
                                                   17
26
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 1    standards, in the Dixon federal litigation, the State asserted that these lab results permitted

 2    it to “extrapolate [a] 180-day BUD for all future batches from the API salt.” Id. ¶ 39. That
 3    extrapolation is not permissible.
 4
         59. The inadequacy of the pharmacist’s “specialized testing” or “stability testing” under
 5
      USP requirements establishes that the drugs prepared circa April 7, 2022, for Mr. Atwood’s
 6
      lethal injection lack an extended BUD. As a result, the latest BUD these drugs could
 7
      possess, if they “were immediately frozen and have been kept frozen solid” since their
 8
      preparation (and there is no evidence that they have), would be May 22, 2022, well short
 9
      of the June 8, 2022 execution date. Id ¶ 12. Thus, “the State has failed to compound
10

11    pentobarbital for use on June 8, 2022, with a BUD after that date” id. ¶ 10, in violation of

12    its obligations under the Department’s Execution Procedures.

13       60. Aside from the BUD-related disclosures that have failed to establish a BUD, the

14    State has provided just two pages regarding the batch of drugs it intends for Mr. Atwood,

15    both heavily redacted. The first was disclosed on April 15, 2022, and the second three days
16    later, each reflecting a single test that measured only the potency of the pentobarbital
17
      sodium solution. Exhibit 14, Lab results.
18
         61. These pages do not contain enough information to assess the suitability of the drugs
19
      for use in Mr. Atwood’s execution, and do not constitute a “quantitative analysis” as
20
      contemplated by the Execution Procedures.
21
         D. Defendants’ Specification of Hydrogen Cyanide as its Lethal Gas Is a
22          Determination to Gratuitously Inflict Pain
23       62. Amendment to Article XXII, § 22 of the Arizona Constitution, provides that
24

25
                                                    18
26
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 1    individuals sentenced to death for an offense committed before November 23, 1992, “shall

 2    have the choice of either lethal injection or lethal gas” as the method of execution. This
 3    state-created interest is further enshrined in legislation, A.R.S. § 13-757(B). Neither the
 4
      Arizona Constitution nor Arizona statute specifies the nature of the gas the Department
 5
      shall use in the lethal gas method.
 6
          63. Like its lethal injection protocol, the Department’s Execution Procedures for
 7
      carrying out a lethal gas execution is part of D.O. 710, specifically Attachment E of that
 8
      order (“the lethal gas protocol”). Ex. 4. The Execution Procedures can actually include gas
 9
      method specifications because Arizona is the only United States jurisdiction with a
10

11    purportedly operational gas chamber, a vessel manufactured and procured in 1949.2

12        64. The lethal gas protocol specifies the use of sodium cyanide with a sulfuric acid and

13    water mixture, which produces hydrogen cyanide.

14        65. The selection of cyanide gas, as opposed to some other lethal gas, was made at the

15    discretion of the Department, ultimately Defendant Shinn, its Director.
16        66. Mr. Atwood has a constitutional and statutory right to choose between lethal
17

18    2
        Just three other states contemplate a “lethal gas” choice. Cal. Penal Code § 3604 (lethal
      injection is administered, unless prisoner chooses lethal gas); Mo. Ann. Stat. § 546.720 (statute
19    contemplates injection and gas and is ambiguous as to selection; Missouri has not used lethal gas
      in modern period); Wyo. Stat. Ann. § 7-13-904 (designates lethal gas only in the event lethal
20    injection is deemed unconstitutional). In the past seven years, three states have legislated a
      nitrogen hypoxia option. On April 17, 2015, the Oklahoma Legislature first amended its methods
21    statute to authorize nitrogen hypoxia in the event lethal injection is held unconstitutional or
      deemed “otherwise unavailable.” Okla. Stat. Ann. Tit. 22 § 1014. On March 22, 2018, Alabama
22    adopted a prisoner choice of nitrogen hypoxia or electrocution in conjunction with the default
      method of lethal injection. Ala. Code § 15-18-82.1.b. On April 14, 2022, the Mississippi
23    Legislature amended its statute, effective July 1, 2022, to permit a nitrogen hypoxia execution
      even when lethal injection is available. 2022 Miss. Laws H.B. 1479, amending Miss. Code Ann.
24    § 99–19–51.
25
                                                     19
26
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 1    injection and lethal gas as his method of execution. But hydrogen cyanide gas, the lethal

 2    gas method chosen by the Department, has a documented history of producing agonizing,
 3    unconstitutional levels pain as it inflicts death.3
 4
                 a. Arizona Law Provides Mr. Atwood a Choice of Lethal Gas but the
 5                  Nature of that Gas Is Left to Defendant’s Discretion

 6        67. In 1933, voters approved the addition of Article 22, Section 22 to the Arizona

 7    Constitution, which established lethal gas as the State’s method of execution. Nearly 60

 8    years later, in 1992, voters approved an amendment to that section of the constitution to

 9    establish lethal injection as the method of execution for all future offenses resulting in a

10    death sentence. For older offenses, however, the 1992 amendment provided “that
11
      defendants sentenced to death for offenses committed prior to the effective date of the
12
      amendment to this section shall have the choice of either lethal injection or lethal gas.” The
13
      amendment became effective on November 23, 1992.
14
          68. The statutory counterpart of Article 22, Section 22 similarly reflects that capital
15
      defendants whose offenses predate the effective date of the 1992 amendment may, at their
16
      choice, select between lethal gas and lethal injection. It further specifies that that choice
17
      may be made 20 days prior to the defendant’s execution date. The relevant statute provides
18

19    in part: “A defendant who is sentenced to death for an offense committed before November

20    23, 1992 shall choose either lethal injection or lethal gas at least twenty days before the

21    execution date.” A.R.S. § 13-757(B).

22

23    3
       Generally, it is an internationally banned chemical. See Chemical Weapons Convention
      Implementation Act of 1998, Pub. L. No. 105-277, 112 Stat. 2681. 22 U.S.C.A. § 6701 (12)(C)
24    (Schedule 3 chemical agents, including hydrogen cyanide).
25
                                                     20
26
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 1        69. In 1987, Mr. Atwood was sentenced to death for a crime which occurred in 1984.

 2    He thus has a right under Arizona’s statutes and constitution to decide whether he will be
 3    executed by lethal gas or lethal injection.
 4
          70. Notably, neither Article 22, Section 22 nor any Arizona statute specify what lethal
 5
      gas or gases can or shall be used to carry out a lethal gas execution, nor do they provide
 6
      any guidance or limitation of any kind as to the identity of the gas to be used in executions,
 7
      other than that it be lethal.
 8
          71. The decision about which lethal gas to use in a lethal gas execution is thus vested
 9
      entirely in the discretion of the Department, which is charged with carrying out executions,
10

11    and its Director, Defendant Shinn, and Defendants in their capacities serving the

12    Department. The only implicit limitation is that the gas selected may not violate the bars

13    against cruel and unusual punishment found in Article 2, Section 15 of the Arizona

14    Constitution and the Eighth Amendment to the United States Constitution.

15        72. The decision to designate hydrogen cyanide gas to carry out lethal gas executions
16    was thus made by Defendants in their sole discretion.
17
          73. Under the lethal gas protocol, the condemned is strapped into a chair in the gas
18
      chamber. After the gas chamber is sealed, a system of valves and levers is used to combine
19
      sodium cyanide 4 with sulphuric acid and distilled water. This combination causes a
20
      chemical reaction that creates a cloud of hydrogen cyanide gas which fills the gas chamber.
21

22

23    4
        Despite the specification of sodium cyanide, public records reflect Defendants’ purchase
      in late 2020 of substantial amounts of potassium cyanide, a different kind of cyanide
24    from what the Department now specifies (viz., sodium cyanide). Exhibit 15.
25
                                                    21
26
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 1    Inhaling cyanide gas is fatal to the inmate strapped to the chair located inside the chamber.

 2        74. Twenty-five years before the delivery of the Department’s gas chamber (supra),
 3    Nevada was the first state to use cyanide, executing Mr. Gee Jon on February 8, 1924, after
 4
      its supreme court upheld the statute ushering in the lethal gas method nationally.5 Initially,
 5
      Nevada envisioned administering the poison into the condemned’s “cell at night to execute
 6
      him in his sleep,” but “because half the cell block potentially could have been killed . . . a
 7
      special enclosure had to be built.”6
 8
          75. Thus was born the prototypical gas chamber for penological use, a precursor to
 9
      large-scale chambers to deploy cyanide gas for genocidal use. 7 In the years between
10

11    Nevada’s innovation and Nazi Germany’s massive scaling of the technology, Arizona

12    supplanted hanging with lethal gas by a 1933 plebiscite amending the constitution (supra),

13    which the state supreme court promptly upheld.8 States carried out nearly 600 cyanide gas

14    executions in the decades following Nevada’s legislation and before Furman v. Georgia,

15    408 U.S. 238 (1972), struck down all capital statutes.9
16        76. Upon reestablishment of capital punishment after Gregg v. Georgia, 428 U.S. 153
17

18
      5
        State v. Gee Jon, 211 P. 676 (Nev. 1923).
19    6
        Allen Huang, Hanging, Cyanide Gas, and the Evolving Standards of Decency: The Ninth
      Circuit’s Misapplication of the Cruel and Unusual Punishment Clause of the Eighth Amendment,
20    74 Or. L. Rev. 995, 1004 (1995) (citing Michael V. DiSalle, The Power of Life or Death (1965),
      at 21).
21    7
        See generally United Kingdom v. Tesch, 1 L. Rep. Tr. War. Crim. 93 (1947) (finding supplier
      of Zyklon B cyanide gas to German concentration camps in violation of “the laws and usages of
22    war”).
      8
        Hernandez v. State, 43 Ariz. 424, (1934) (rejecting challenge on ex post facto and cruel and
23    unusual punishments grounds).
      9
        See generally Scott Christianson, The Last Gasp: The Rise and Fall of the American Gas
24    Chamber (2010).
25
                                                   22
26
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 1    (1976), only 11 lethal gas executions have occurred in the United States,10 all of which

 2    used cyanide gas and the last of which was this Department’s execution in 1999 of Walter
 3    LaGrand, entailing 18 minutes of violent asphyxiation.11
 4
            77. Mr. LaGrand’s was one of just two such executions the Department conducted post-
 5
      Gregg; it also used hydrogen cyanide to execute Donald Harding in 1992, 12 a death
 6
      reported as “extremely violent,” in which Mr. Harden’s “body turn[ed] from red to purple,”
 7
      and credited with the constitutional amendment adopting lethal injection as the state’s
 8
      default method.13
 9
                       Arizona’s Execution of Donald Harding
10

11          78. The State of Arizona executed Donald Harding using cyanide gas in 1992. Multiple

12    eyewitnesses described the gruesome, painful details of Mr. Harding’s death, which took

13    ten minutes and thirty-one seconds to complete.

14          79. Later that year, Justice Stevens quoted the first-hand account of Mr. Harding’s death

15    from his attorney, who witnessed it:
16              When the fumes enveloped Don’s head he took a quick breath. A few seconds
                later he again looked in my direction. His face was red and contorted as if he
17
                were attempting to fight through tremendous pain. His mouth was pursed
18              shut and his jaw was clenched tight. Don then took several more quick gulps
                of the fumes. [] At this point Don’s body started convulsing violently. ... His
19              face and body turned a deep red and the veins in his temple and neck began

20    10
        Since the post-Gregg resumption of executions, in Utah in 1977, there were only nine lethal
      gas executions conducted outside of Arizona: one in Nevada in 1979, four in Mississippi
21    between 1983 and 1989, two in California in 1992 and 1993, and two in North Carolina in 1994
      and 1998. See Death Penalty Information Center, Execution Database: deathpenaltyinfo.org.
22    11
           Patty Machelor, LaGrand: 18 minutes to die, Tucson Citizen, Mar. 4, 1999.
      12
           Charles Howe, Arizona Killer Dies in Gas Chamber, S.F. Chron., Apr. 7, 1992, at A2.
23          .
      13
       AP, Gruesome Death in Gas Chamber Pushes Arizona Toward Injections, New York Times,
24    Apr. 25, 1992, § 1, 9.
25
                                                      23
26
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 1            to bulge until I thought they might explode. [] After about a minute Don’s
              face leaned partially forward, but he was still conscious. Every few seconds
 2            he continued to gulp in. He was shuddering uncontrollably and his body was
              racked with spasms. His head continued to snap back. His hands were
 3            clenched. [] After several more minutes, the most violent of the convulsions
              subsided. At this time the muscles along Don’s left arm and back began
 4
              twitching in a wavelike motion under his skin. Spittle drooled from his
 5            mouth.... [] Don did not stop moving for approximately eight minutes, and
              after that he continued to twitch and jerk for another minute. Approximately
 6            two minutes later, we were told by a prison official that the execution was
              complete.
 7
      Gomez v. U.S. Dist. Ct. for N. Dist. of California, 503 U.S. 653, 655–56 (1992) (Stevens,
 8
      J., dissenting) (citation omitted).14
 9
           80. Other witnesses corroborate Mr. Belanger’s account. Veteran Tucson Citizen
10
      reporter Carla McClain, a media witness with almost 25 years of experience as a reporter,
11
      testified that Mr. Harding immediately and continuously “groaned loudly and began to
12

13    choke to death.” Exhibit 16, McClain dec.

14         81. Ms. McClain observed Mr. Harding’s hand clenching, followed by his head

15    dropping down before jerking “high and back.” Id.

16         82. Ms. McClain recounted that Mr. Harding “groaned again and again, gasped, and his
17    body turned bright red, almost purple as he clenched and convulsed in obvious pain.” Id.
18
           83. Even after Mr. Harding appeared to have become unconscious, after several minutes
19
      of agony, Ms. McClain observed that “He seemed to continue gasping and shuddering,”
20
      and that his “chest convulsed and muscles quivered.” Id.
21
              84.    Donna Hamm also witnessed Mr. Harding’s execution. After Mr. Harding
22

23    14
        See also Jim Belanger, Opinion, I watched Don Harding’s execution in an Arizona gas
      chamber. His face still haunts me, Arizona Republic (June 8, 2021).
24

25
                                                   24
26
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 1    inhaled the cyanide gas, Ms. Hamm observed that his “head was thrown back violently

 2    against the chair and he turned his head from side to side. He jerked and twisted as if
 3    gasping for air. At the same time, his body buckled against the straps. Severe convulsing
 4
      began, and continued throughout. Even through the thick glass of the gas chamber, I heard
 5
      him moan a low, gutteral [sic] sound of sheer torment. I prayed for him to go quickly.”
 6
      Exhibit 17, Hamm dec.
 7
         85. Ms. Hamm observed that Mr. Harding’s body shook and convulsed so severely that
 8
      she thought he might move the chair he was strapped into. She noticed that for a two minute
 9
      period “his hand never stopped contorting in bizarre ways.” Ms. Hamm also noted that Mr.
10

11    Harding’s “body, especially his back and neck had turned a deepening red.” Id.

12       86. Ms. Hamm described Mr. Harding’s death as “prolonged, ritualistic torture,” and

13    she believed that his death was more gruesome and painful than that of her own father, who

14    burned to death in a fire following a plane crash. Memories of the manner of Mr. Harding’s

15    death were so traumatic that she found it difficult to sleep for days afterward. Id.
16           87.    Then-Attorney General Grant Woods also observed the execution. A
17
      supporter of the death penalty, Mr. Woods stated that Mr. Harding “needed to know from
18
      start to finish that we were not going to cut him any slack because he didn’t deserve it. That
19
      means right up to the end.” Michael Murphy, Woods says he didn’t see finger gesture,
20
      Phoenix Gazette (April 7, 1992). Exhibit 18.
21
         88. Nonetheless, Mr. Woods also expressed that Mr. Harding’s execution was “a
22
      terrible thing to witness” and that observing it hardened his opinion that the state should
23

24    no longer use lethal gas as a method of execution. He further stated “It took so long… I

25
                                                   25
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 1    don’t know who came up with this concept of a gas chamber in the first place. Maybe that

 2    was innovative a while ago, but it’s not today.” Id.
 3                  Execution of Walter LaGrand
 4
         89. Arizona’s most recent lethal gas was that of Walter LaGrand in 1999 (supra). Like
 5
      Mr. Harding, Mr. LaGrand was executed using cyanide gas. Like Mr. Harding, eye
 6
      witnesses reported that his death was extremely painful.
 7
             90.    Patty Melchor, a reporter for the Tucson Citizen, served as a media witness
 8
      at Mr. LaGrand’s execution. Patty Machelor, LaGrand: 18 minutes to die, Tucson Citizen
 9
      (Mar. 4, 1999), Exhibit 27.
10

11       91. Ms. Melchor reported that after Mr. LaGrand “became enveloped in a cloud of

12    cyanide vapor,” he “began coughing violently – three or four loud hacks – and then, in

13    what appeared to be his last moments of consciousness, he made a gagging sound before

14    falling forward.” Id.

15       92. Afterwards, Ms. Melchor observed that Mr. LaGrand’s body continued to twitch for
16    several minutes after falling forward. Id.
17
         93. Another media witness, Bart Graves of KTAR, reported that during the execution
18
      Mr. LaGrand gurgled and coughed violently and that his back muscles contorted until his
19
      head finally dropped. Christina Leonard, LaGrand dies in state gas chamber, Arizona
20
      Republic (Mar. 4, 1999), Exhibit 19.
21
         94. A reporter with the Arizona Daily Star who witnessed the execution, Heather
22
      Urquides, reported that Mr. LaGrand strained against the straps holding him in place until
23

24    he finally slumped over. Id.

25
                                                   26
26
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 1       95. In total, it took approximately 18 minutes for Mr. LaGrand to die. Id.

 2                  Cyanide Gas Executions Elsewhere
 3       96. While the LaGrand and Harding executions are the only cyanide gas executions
 4
      performed in Arizona over the last half century, other states have performed cyanide gas
 5
      executions in the modern era. As with the two Arizona executions, accounts of those
 6
      executions reflect that cyanide gas is an extremely painful method of killing.
 7
             97.    For example, in 1979, the State of Nevada executed Jesse Bishop using
 8
      cyanide gas. Tad Dunbar served as a media witness to that execution. Mr. Dunbar reported
 9
      that after the cyanide was released into the acid, Mr. Bishop took a deep breath. Mr. Dunbar
10

11    testified after doing this, Mr. Bishop “immediately gasped and convulsed strenuously. His

12    body stiffened and his head lurched back. His eyes widened, and he strained as much as

13    the straps would allow. He unquestionably appeared to be in pain. I noticed that he had

14    urinated on himself…. He alternately strained and then relaxed against the straps for about

15    ten minutes.” Exhibit 20, Dunbar dec.
16       98. While he did not have preconceptions about the nature of a lethal gas execution prior
17
      to observing the Bishop execution, Mr. Dunbar stated that he “was surprised to see that
18
      death did not appear to come rapidly or painlessly under that method of execution.” Id.
19
             99.    In 1983, the State of Mississippi executed Jimmy Lee Gray using cyanide
20
      gas. Mr. Gray’s attorney, Dennis Balske, witnessed the execution. Exhibit 21., Balske dec.
21
         100.       Mr. Balske was able to view the great physical distress Mr. Gray was in as
22
      soon as he breathed in the cyanide gas, testifying in an affidavit as follows:
23

24           Once the gas reached Mr. Gray’s face, he began to thrash around in his chair.

25
                                                   27
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 1             He jerked forward and back, repeatedly slamming his head on a metal
               support pole situated behind the chair. The chilling sound of his head
 2             desperately smashing against the pole reverberated through the area over and
               over again. About the seventh time he pounded his head against the pipe, his
 3             desperation was so great that the six-sided glass chamber seemed to shake
               with the impact. He slumped and lay still for a few moments, then tensed up
 4
               and resumed his struggling, again smashing his head against the pole. Mr.
 5             Gray struggled for air while his body contorted and twisted.

 6    Id.

 7          101.            Eight minutes into the execution, Mr. Balske and other witnesses were

 8    ordered to leave the witness room despite the fact that Mr. Gray “was still struggling for

 9    air and banging his head.” Id.

10          102.     Calling the execution “a nightmare,” Mr. Balske stated that “Nothing in my
11
      experiences as an attorney or a human being could have prepared me to witness the
12
      prolonged and torturous death of Jimmy Lee Gray.” He described the execution as “vile
13
      and repulsive to observe” and “clearly excruciating and horrific” for Mr. Gray. Id.
14
            103.     A media witness to the Gray execution, Dan Lohwasser, corroborated Mr.
15
      Balske’s account. He testified that after the cyanide gas was released, Mr. Gray strained
16
      against the straps holding him in place and that after several minutes he began to slam his
17
      head into the metal pole behind the chair he was placed in. Mr. Lohwasser reported that
18

19    Mr. Gray’s “mouth took on an anguished, distorted expression as he gasped for air…. He

20    let out a very long guttural groan. He looked like he was being strangled to death. It was

21    obvious that Mr. Gray was in excruciating pain.” Exhibit 22., Lohwasser dec.

22          104.     Mr. Lohwasser, who experienced combat and was exposed to violent deaths
23    during the Vietnam War, described Mr. Gray’s execution as “far more cruel, barbaric, and
24

25
                                                   28
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 1    demoralizing than any other violent and gruesome acts that I have witnessed.” Id.

 2        105.        In 1987, Mississippi executed Connie Ray Evans using cyanide gas. One of
 3    Mr. Evans’ attorneys, Robert Marshall, witnessed the execution. Mr. Marshall reported that
 4
      after the cyanide gas was generated, Mr. Evans let out “the first of several loud agonizing
 5
      gasps.” Mr. Evans lost control of his bodily functions and a rope of saliva hung from his
 6
      chin. The muscles on his neck tightened and bulged, and his “forced breathing and tensed
 7
      body exhibited excruciating pain.” It took 13 minutes for Mr. Evans to die. Exhibit 23,
 8
      Marshall dec.
 9
          106.        Mr. Marshall reported experiencing nightmares about the Evans execution
10

11    for years after it took place. Id.

12            107.    In 1989, Mississippi executed Leo Edwards using cyanide gas. The execution

13    was witnessed by his attorney, Kenneth Rose. Mr. Rose reported that after the cyanide gas

14    was released, Mr. Edwards began banging his head and straining fiercely against the straps

15    which held him in place. He let out several “shriek[s] of terror.” Exhibit 24, Rose dec.
16        108.        Mr. Rose was certain “that Mr. Edwards was conscious and suffering
17
      excruciating pain during the execution. I do not believe that an unconscious person could
18
      scream the agonizing screams that ripped through that room in Mississippi. I was disgusted
19
      and sickened by the pain and torment I saw in Leo Edwards’ final desperate minutes of
20
      life.” Id.
21
                      Cyanide Gas and Mass Exterminations
22
          109.        During the Second World War, Nazi Germany systematically murdered
23

24    millions of civilians it deemed undesirable, including Romani people, Slavs, homosexuals,

25
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 1    disabled persons, and approximately six million Jews, among others. Millions of these

 2    victims died in gas chambers at Auschwitz-Birkenau and other extermination camps.
 3       110.        Victims of the Nazis murdered in the gas chamber at Auschwitz-Birkenau
 4
      and elsewhere were killed primarily using hydrogen cyanide gas, sold under a commercial
 5
      formulation bearing the name “Zyklon B.”
 6
         111.        Zyklon B was originally developed for agricultural purposes as a pesticide.
 7
      During the 1940s, however, the Nazi regime obtained and began using it as a method of
 8
      mass murder.
 9
         112.        The Nazis used Zyklon B to murder approximately 1.1 million people
10

11    between 1942 and 1945. At its height, an average of 6,000 Jews were killed each day using

12    Zyklon B at the Auschwitz II killing center, according to the U.S. Holocaust Memorial

13    Museum.

14       113.        As a teenager in Czechoslovakia, Gloria Lyon and other members of her

15    family were interned by the Nazis at Auschwitz-Birkenau. While she was imprisoned there,
16    Ms. Lyon lived in constant fear of the gas chamber and witnessed countless others taken
17
      there to be killed. She “knew it was a painful death, as I had heard screams coming from
18
      the gas chamber.” Exhibit 25, Lyon dec.
19
         114.        Ms. Lyon stated that while “[i]nnocent Holocaust victims can never be
20
      compared with convicted murderers…, the fact remains that being suffocated to death with
21
      poisonous gas is always cruel, painful, inhumane and barbaric. As a person who saw the
22
      daily horror of mass extermination by gas, I know that execution by gas is torture and it
23

24    can never be anything less.” Id.

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 1           115.   Similarly, John Steiner, a Jewish man from Prague, along with his family

 2    were captured and imprisoned by the Nazis. During his ordeal, Mr. Steiner was imprisoned
 3    at Auschwitz-Birkenau for more than a year, where he witnessed countless people taken
 4
      away to be killed in the gas chamber. Exhibit 26, Steiner dec.
 5
         116.       Years later, after immigrating to the United States, Mr. Steiner was employed
 6
      at San Quentin prison in California and was asked to serve as a witness at a lethal gas
 7
      execution. Mr. Steiner declined, stating that he “knew that lethal gas is an excruciatingly
 8
      painful method of execution. Witnessing a person being gassed to death would bring back
 9
      horrendous memories of the hideous fate suffered by millions, which included my family,
10

11    extended relatives, and friends.” Id.

12       117.       Mr. Atwood has a family connection to the millions of innocent lives killed

13    by the Nazis in the gas chamber. His mother, Alice Shelton, was a woman of Jewish

14    heritage native to Vienna, Austria. Along with other members of her family, Alice fled

15    Austria after Nazi Germany annexed that country, eventually settling in the United States.
16       118.       Had Alice and her family not escaped, they would have faced the fate of
17
      death in the Nazi gas chamber that befell millions of others who were less fortunate.
18
                    Fierro v. Gomez
19
         119.       In 1994, the Northern District of California held an extensive trial on whether
20
      executions by cyanide gas inflict torturous pain and suffering. Fierro v. Gomez, 865 F.
21
      Supp. 1387 (N.D. Cal. 1994). Following an eight-day trial, the Court entered a detailed
22
      factual order concluding that executions using cyanide gas constituted cruel and unusual
23

24    punishment in violation of the Eighth Amendment.

25
                                                   31
26
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 1         120.      At issue in Fierro was the State of California’s use of cyanide gas in

 2    executions, the same gas Arizona used in the Harding and LaGrand executions and which
 3    is called for by the Department’s current lethal gas protocol.
 4
           121.      Evidence considered by the district court included a review of accounts of
 5
      Arizona’s execution of Donald Harding by cyanide gas in 1992, discussed above. Based
 6
      upon this review, the court noted that Mr. Harding’s “execution was, by all accounts,
 7
      prolonged and apparently agonizing.” Id. at 1408.
 8
           122.      In Fierro, the Court, “based on the evidence presented at trial, the testimony
 9
      of the experts and the scientific literature introduced as exhibits,” found that an inmate
10

11    exposed to cyanide gas remain conscious for up to several minutes after inhaling the gas.

12    865 F. Supp. at 1404.

13         123.      The Court continued:

14            During this time [of consciousness after inhaling cyanide gas], the court finds
              that inmates suffer intense, visceral pain, primarily as a result of lack of
15            oxygen to the cells. The experience of “air hunger” is akin to the experience
              of a major heart attack, or to being held under water…. Other possible effects
16            of the cyanide gas include tetany, an exquisitely painful contraction of the
              muscles, and painful build-up of lactic acid and adrenaline. Cyanide-induced
17
              cellular suffocation causes anxiety, panic, terror, and pain.
18
      Id. (citations omitted).15
19

20    15
        The district court’s findings of fact and order were affirmed on appeal by the Ninth
21    Circuit. Fierro v. Gomez, 77 F.3d 301, 309 (9th Cir. 1996). Subsequently, the California
      legislature amended the state’s death penalty statute to eliminate lethal gas as a method of
22    execution. On that ground alone, the U.S. Supreme Court vacated the decisions below
      and remanded for further proceedings. See Gomez v. Fierro, 519 U.S. 918 (1996). On
23    remand, the Ninth Circuit dismissed case for lack of standing. Fierro v. Terhune, 147 F.3d
      1158 (9th Cir. 1998). On information and belief, no federal court has reached the merits
24    of a constitutional gas challenge since the initial Fierro decisions.
25
                                                    32
26
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 1         124.        Subsequent to Fierro, the State of Arizona conceded that the method of lethal

 2    gas execution it employed—that is, execution by cyanide gas—was substantially similar
 3    to the California method at issue in Fierro. LaGrand v. Stewart, 173 F.3d 1144, 1148 (9th
 4
      Cir. 1999).
 5
           125.        The State further conceded the detailed testimony and findings of the intense
 6
      pain and suffering inflicted on individuals executed with cyanide gas found by the district
 7
      court in Fierro. Id. at 1149 (“Counsel for the State has candidly admitted that if the question
 8
      of Arizona’s use of lethal gas went to trial, the record would be no different than it was in
 9
      Fierro.”). Id.
10

11         126.        In the same case, the Ninth Circuit reaffirmed its earlier conclusion, based

12    on the Fierro record, that execution by cyanide gas violated the Eighth Amendment. Id.

13                     Absence of Gas Protocol

14         127.        Although Arizona conducted two lethal gas executions in the 1990s, from at

15    least 2010 until 2021,16 the Department did not maintain a formal lethal gas execution
16    protocol.17
17
           128.        During that period, D.O. 710, at times, provided that qualifying inmates be
18
      notified of their option to select lethal gas over lethal injection. It further directed
19
      Department staff to ensure that the gas chamber was maintained.
20
           129.        However, during this period, D.O. 710 contained no provisions outlining
21

22    16
         Counsel for plaintiff have not accessed any manual issued between the date of the
      Department’s last cyanide execution, March 3, 1999, and December 16, 2010 (infra n.[+1]#).
23    17
         These ten manuals in effect prior to the current iteration (supra) have the following effective
      dates: Dec. 17, 2010; Sep. 5, 2011; Jan. 25, 2012; Mar. 26, 2014; Sep. 30, 2015; Apr. 29, 2016;
24    Jan. 11, 2017; Jun. 7, 2017; Jun. 13, 2017; and Nov. 20, 2019.
25
                                                      33
26
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 1    how gas executions were to take place or the identity of the lethal gas or gases to be used

 2    in a lethal gas execution.
 3       130.       On March 10, 2021, D.O. 710 was amended. This amendment added
 4
      Attachment E, the lethal gas protocol.
 5
         131.       With this addition, for the first time in at least a decade, the Department
 6
      possessed a formal protocol for carrying out a lethal gas execution. The newly adopted
 7
      lethal gas protocol described a method for carrying out executions via sodium cyanide with
 8
      a sulfuric acid and water mixture, to make hydrogen cyanide.
 9
         132.       Thus, in 2021, the Department formally adopted cyanide gas as its method
10

11    of lethal gas execution despite the State’s concession more than two decades prior, in the

12    LaGrand case, that execution by cyanide gas results in a torturous, highly painful death.

13       133.       The current version of the lethal gas protocol is identical to the one published

14    in 2021, including its selection of cyanide gas as the lethal gas.

15    VII.   Constitutional Pleading Requirement of Alternative Execution Methods
16       A. Seated Administration of Intravenous Catheter and Lethal Injection
17           134.   Plaintiff maintains his challenge of Defendants’ use of compounded
18
      pentobarbital sodium injection for the reasons pleaded herein concerning the adequacy of
19
      the compounding. Defendants have failed to establish that the compounded injectable
20
      solution prepared for use to execute Mr. Atwood on June 8, 2022, is adequate for its
21
      intended purpose.
22
         135.       Apart from Defendants’ unlawful use of the Department’s retained
23
      compounding pharmacist’s preparation of injection chemicals, Plaintiff has pleaded
24

25
                                                    34
26
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 1    Defendants’ violation of the prohibition against the infliction of cruel and unusual

 2    punishments as-applied to Plaintiff due to his particular health history and status.
 3       136.       Defendants, through the operation of the Department’s Execution
 4
      Procedures, for which Defendants are responsible for preparing, promulgating, and
 5
      imposing, intend to restrain Plaintiff’s arms, body, and legs to the Department’s execution
 6
      table before the insertion of any intravenous catheter, the conducting of other procedures
 7
      associated with conducting lethal injection such as the seating of witnesses of the
 8
      execution, and ultimately the administration of injectable solution to conduct the lethal
 9
      injection. This restraint of Plaintiff to the execution table would gratuitously inflict extreme
10

11    pain, doing so for an extensive period that the Department’s record from prior executions

12    indicates would transpire for a period of approximately an hour or more, even if the

13    administration of the injection itself is successful as planned.

14       137.       Plaintiff hereby pleads an alternative to Defendants’ lethal injection

15    procedures. Plaintiff pleads that Defendants secure him to his wheelchair and insert an
16    intravenous catheter and administer
17
         B. Spinal Surgery
18
         138.       Defendants could also undertake to sufficiently treat Mr. Atwood’s condition
19
      and attendant pain, addressing the reason he is unable to lie flat to begin with. As Dr.
20
      Davidson explains, “surgical intervention is likely necessary to address the underlying
21
      causes of his chronic pain.” Ex. XX ¶ 32.
22
         C. Nitrogen Gas
23
         139.       As set forth above, the Arizona Constitution and Arizona’s method of
24

25
                                                    35
26
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 1    execution statute provide for lethal gas as a method of execution for capital defendants,

 2    such as Mr. Atwood, who are sentenced to death for offenses which occurred before
 3    November 23, 1992. Ariz. Const. Art. 22 Sec. 22; A.R.S. § 13-757(B). Neither authority
 4
      specifies the kind of gas that may or must be used under that method.
 5
             140.   In the past seven years, three states have legislated a nitrogen hypoxia option.
 6
      Nitrogen presents numerous advantages as a method.
 7
             141.   On April 17, 2015, the Oklahoma Legislature first amended its methods
 8
      statute to authorize nitrogen hypoxia in the event lethal injection is held unconstitutional
 9
      or deemed “otherwise unavailable.” Okla. Stat. Ann. Tit. 22 § 1014.
10

11           142.   On March 22, 2018, Alabama adopted a prisoner choice of nitrogen hypoxia

12    or electrocution in conjunction with the default method of lethal injection. Ala. Code § 15-

13    18-82.1.b.

14           143.   In 2017, the Mississippi legislature amended that state’s lethal injection

15    statute to provide for nitrogen hypoxia as an alternative method of execution in the event
16    that lethal injection is ruled unconstitutional or otherwise becomes unavailable. 2017 Miss.
17
      Laws Ch. 406, amending Miss. Code Ann. § 99–19–51.
18
             144.   On April 14, 2022, the Mississippi Legislature amended its statute, effective
19
      July 1, 2022, to permit a nitrogen hypoxia execution even when lethal injection is available.
20
      2022 Miss. Laws H.B. 1479, amending Miss. Code Ann. § 99–19–51.
21
             145.   None of the foregoing states, however, possess even a purportedly
22
      operational gas chamber. Arizona is the single United States jurisdiction with such a
23

24    chamber. Defendants encounter no impediments to implementing a nitrogen hypoxia

25
                                                   36
26
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 1    protocol by revision to the Execution Procedures and modest measures in preparation with

 2    respect to the use of the Department’s chamber. The following implementation scenarios
 3    use the chamber, which is adjacent to the execution room in Housing Unit 9. Att. E, ¶ 2.
 4
             146.   In setting forth a lethal gas execution using nitrogen, three detailed
 5
      implementation scenarios are presented here. Each may be readily implemented and is
 6
      inexpensive, simple, and much safer to prison staff and witnesses than an execution under
 7
      the Department’s hydrogen cyanide procedures pursuant to Att. E of the Execution
 8
      Procedures.
 9
             Underlying scientific principles
10

11           147.   Nitrogen gas (N2) constitutes approximately 80% of the natural atmosphere.

12    It is not perceived or recognized by the natural senses because it is odorless, tasteless,

13    colorless, and non-irritating. Nitrogen gas is largely chemically inert under normal

14    environmental conditions and has no substantial biochemical or medicinal activities.

15           148.   Nitrogen is intrinsically harmless to human health and well-being, given that
16    approximately 80% of every inhaled breath is nitrogen gas. However, inhaling nitrogen in
17
      the absence of oxygen (which comprises approximately 20% of the atmosphere) is
18
      universally lethal, because continued intake of oxygen, of course, is necessary for
19
      supporting human life. Hypoxia occurs when a gas, such as nitrogen, essentially displaces
20
      oxygen in someone’s inhalation. In slight contrast, anoxia occurs when oxygen is
21
      eliminated entirely from inhalation.
22
             149.   Inhaling   concentrated     nitrogen   gas   produces   rapid   and   painless
23

24    unconsciousness and death in both humans and animals. Its efficacy in producing death in

25
                                                   37
26
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 1    humans is well-known and well-understood due to industrial accidents in which workers

 2    die due to inadvertent exposure to nitrogen-rich environments. Nitrogen gas is not
 3    detectable by human senses, unlike many other industrial gases, thus workers entering or
 4
      exposed to nitrogen-rich oxygen-depleted chambers succumb without awareness or
 5
      warning that the chamber is uninhabitable.
 6
             150.   The sensation and experience of oxygen deprivation is well-understood by
 7
      medical, industrial, chemical engineering, aerospace, military, and other scientific
 8
      professions and organizations.18 Oxygen deprivation, whether via displacement by inert
 9
      gas (such as nitrogen) or by high altitude environments,19 produces rapid decline in mental
10

11    and cognitive faculties, followed by complete unconsciousness (“blacking out”) and death

12    by cardiac arrest. The initial phase is not unpleasant, and sometimes involves mild

13    euphoria, mild giddiness, amusement, and a sense of well-being. It is painless. The process

14    rapidly produces unconsciousness.

15           151.   Regarding aviation contexts, the literature is abundant regarding “Time of
16    Useful Consciousness” (“TUC”), which denotes the amount of time a pilot has to correct
17

18
      18
19       J. Ernsting, The Effect of Brief Profound Hypoxia upon the Arterial and Venous
      Oxygen Tensions in Man, J. Physiol. 169, Air Force Inst. Of Av. Med. 1-23 (1963) 292-
20    311.
      19
         The observation of oxygen deprivation is also important because of high-altitude
21    environments encountered in aviation and elevated terrain. The hypoxia caused by high-
      altitude is not caused by nitrogen displacing/replacing oxygen, rather it results from the
22    low concentration of oxygen in the air causing decreased uptake in the lungs and blood.
      However, the effects on the brain are the same, as evidenced by the current method of
23    training pilots for hypoxic exposure using excess nitrogen rather than hypobaric (low
      pressure) chambers.
24

25
                                                   38
26
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 1    hypoxia before losing the ability to do so. Inhaling zero percent oxygen (i.e., 100%

 2    nitrogen) will produce a TUC on order of 5 seconds, and total unconsciousness and death
 3    shortly thereafter.
 4
                    Implementations, specific to the Department’s extant chamber
 5
             152.   The Department’s gas chamber is purported to be impervious to all forms of
 6
      gas, as evidenced by the Department’s ability to conduct executions using the highly toxic
 7
      cyanide gas within feet of officials and witnesses who participate and observe unaffected
 8
      and unharmed. Att. E.
 9
             153.   Even in the event of the chamber’s substantial leakage of nitrogen into the
10

11    witness or working area of the facility, the dilution of that nitrogen by the volume in the

12    environment would likely subject the witnesses and personnel to a lesser degree of hypoxia

13    than they encounter during commercial air travel.

14           154.   The Department’s gas chamber is already equipped with a venting system

15    and chimney historically for evacuating toxic cyanide gas upon completion of the given
16    execution. This same system would be suitable and effective for evacuating concentrated
17
      nitrogen gas and replacing it with normal air to render the chamber safe for entry to remove
18
      Mr. Atwood’s body. In contrast, Attachment E to the Execution Procedures contemplates
19
      the following measures post-hydrogen cyanide gassing:
20
             CAUTION: Although smoke tests suggest that the [gas] Chamber is purged
21           in approximately 3 to 5 minutes, it is recommended that the period between
             opening the exhaust and air inlet valves and opening the Chamber door be
22           about 15 minutes. As a precautionary measure, it is recommended that the
             Physician and the Restraint Team removing the body wear hydrocyanic acid
23
             gas masks or approved respirators and rubber gloves and that the hair of the
24           deceased inmate be ruffled in order to allow any residually trapped gas to

25
                                                  39
26
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 1            escape. Close the Chamber door, but not tightened more than contact with
              the gasket, and aerate for one hour as necessary to clear any residual
 2            ammonia.
 3         Att. E, ¶ 31.
 4            155.    Further, the Lethal Gas procedures provide: “The Restraint Team shall hose
 5
      down all the surfaces and the deceased inmate prior to removal from the chair.” Id. at ¶ 32.
 6
              156.    The following paragraphs plead three readily implemented alternative
 7
      methods using nitrogen gas in the Department’s chamber to cause nitrogen hypoxia. These
 8
      are:
 9
                  A. flooding the chamber with pure nitrogen gas delivered from readily
10
                      purchasable nitrogen cylinders;
11
                  B. fitting a face mask, similar to those worn by pilots or by hospitalized patients,
12

13                    and delivering pure nitrogen gas from readily available purchasable nitrogen

14                    cylinders; and

15                C. combining (A) and (B): pure nitrogen would be delivered to the mask as in

16                    (B), while the chamber containing Mr. Atwood would be flooded with pure
17                    nitrogen as in (A).
18
                      Method A: Flooding the gas chamber with nitrogen.
19            157.    Under this implementation, Nitrogen cylinders are placed in a convenient
20    and proximal location to the gas chamber.20 Standard cylinder regulators govern the flow
21
      20
22      Suitable nitrogen gas cylinders, regulators, and tubing can be readily purchased here:
      https://www.airgas.com/Gases/Nitrogen/category/626
23    Airgas
      544 W Iron Ave, Suite 101
24    Mesa, AZ 85210
25
                                                     40
26
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 1    of nitrogen gas and are easily controlled by hand or simple wrench-like tools. The nitrogen

 2    gas is carried via tubing, which can be of any nature convenient to the Department. It
 3    would be necessary to drill holes in the gas chamber to permit the tubing to enter the
 4
      chamber, and several states, such as California, have drilled holes in their gas chambers to
 5
      pass intravenous tubing for lethal injection procedures.21 If desired, the Department could
 6
      run several tubes to increase the rate of flooding of the chamber with nitrogen. After
 7
      securing Mr. Atwood within the chamber and closing the chamber, the nitrogen cylinder
 8
      regulators would be opened, gas would flow via the tubing into the chamber, and Mr.
 9
      Atwood would quickly and painlessly become unconscious and then succumb to the deep
10

11    hypoxia.

12           158.   Monitoring of Mr. Atwood’s vital signs during the procedure could be

13    accomplished easily via routine monitors such as a pulse oximeter and EKG (although this

14    would necessitate drilling another hole in the chamber for the leads).

15           159.   Upon completion of the procedure, the already existing ventilation system is
16    used to remove the pure nitrogen gas and replace it with normal atmosphere. This process
17
      is identical to that used to clear the gas chamber after a hydrogen cyanide gas execution,
18
      but with enormously reduced risk of injury and death to the personnel. In order to prevent
19
      pressure accumulation in the chamber, the cyanide vent could be left open in the process.
20
                    Method B: Nitrogen gas delivery via face mask.
21

22
      See also airgas.com.
23    21
         The Department could create holes that are easily covered by screw caps to permit
      reversion to using hydrogen cyanide gas while maintaining the high-performance seal
24    that cyanide toxicity requires (as compared to nitrogen).
25
                                                  41
26
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 1           160.   As noted above, pilot training for high-altitude hypoxia involves the delivery

 2    of high-nitrogen low-oxygen gas into a face mask. Other vocations and avocations require
 3    such functionality from face masks.22 There are numerous such masks readily available
 4
      from numerous suppliers.23 For example, looking to Tennessee’s recent activity reflects
 5
      five executions between 2018 and 2020 by electrocution, all involving a hood over the
 6
      condemned’s head under that state’s protocol.24 Pilot oxygen masks are designed for
 7
      comfort and adequate seal, and would not cause any pain, suffering, or discomfort to Mr.
 8
      Atwood.
 9
             161.   Under this implementation, flexible plastic tubing is used to deliver the pure
10

11    nitrogen to the mask, and the flow rate (up to 50 liters/minute) can be controlled by a

12    medical gas regulator such as what is used to deliver oxygen to patients. Delivery of the 50

13    liters/minute flow rate would exceed an individual’s maximum inspiratory rate. REF. Thus,

14    the condemned’s inspiration would become anoxic, that is, he would breath pure nitrogen.

15           162.   A single nitrogen cylinder could be located within the gas chamber, turned
16    on by hand, and the chamber door would not need to be closed or sealed as the delivery of
17
      nitrogen into the ambient air of the facility would be negligible. Alternatively, a nitrogen
18
      cylinder or cylinders could be located as described in Method A, via the creation of holes
19
      in the chamber wall for tubing to pass through.
20

21
      22
22       Lubomir Straka, et al., Sucidal Nitrogen Inhalation by Use of Scuba Full-Face Diving
      Mask, 58 J. Forensic Sc. 1, 3 (2013).
23    23
         https://www.aircraftspruce.com/menus/ps/oxygen_mask.html.
      24
         See, e.g., Matt Lakin, What I saw when I watched David Earl Miller die, The
24    Tennessean, Dec. 8, 2018.
25
                                                  42
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 1           163.   Monitoring of vital signs, including oxygen saturation, and EKG can be

 2    accomplished as in Method A. Post-execution removal of Mr. Atwood’s body can be
 3    accomplished after venting the chamber with no risk whatsoever of toxicity or death to the
 4
      prison staff. Compare Att. E, ¶ 31, infra.
 5
                    Method C: Combined gas chamber flooding and mask.
 6
             164.   Combining Method A and Method B is unnecessary, because each one on its
 7
      own would deliver rapidly fatal anoxic inhaled gas. However, the Department could
 8
      combine those two methods for the sake of redundancy. The preparation and safety
 9
      measures would be the same as those applicable to Method A.
10

11       D. Firing Squad

             165.   Currently, firing squad is not a statutory alternative method of execution in
12

13    Arizona. See A.R.S. § 13-757. As a practical matter of the method’s required materials and

14    technical capacity, there is no impediment to implementation of the firing squad

15    immediately. The history of capital punishment reflects there is no method of execution

16    simpler to carry out effectively.
17           166.   As reflected herein, the method is neither unusual nor cruel, and it is clearly
18
      a known method. Glossip v. Gross, 576 U.S. 863, 867 (2015) (citing Baze v. Rees, 553 U.S.
19
      35, 61 (2008) (plurality opinion).
20
             167.   The first recorded use of a firing squad to carry out capital punishment in the
21

22

23

24

25
                                                   43
26
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 1    United States occurred over four hundred years ago, in 1608.25 It has been a common

 2    means of military execution since at least the Napoleonic era. Exhibit 28, Declaration of
 3    James S. Williams, M.D., M.Sc., dated May 4, 2022 (“Williams Dec.”), at 8. By 1879, the
 4
      Supreme Court upheld a death sentence by firing squad. Wilkerson v. Utah, 99 U.S. 130,
 5
      134-35 (1879) (cited in Glossip, 576 U.S. at 869 (2015)). Following the restoration of
 6
      capital punishment after Gregg v. Georgia, 428 U.S. 153 (1976), Utah famously executed
 7
      Mr. Gary Gilmore, a volunteer for his punishment, Gilmore v. Utah, 429 U.S. 1012, 1013
 8
      (1976), ushering in the modern era of executions. In 2010, Utah once again used a firing
 9
      squad to carry out a death sentence.
10

11           168.   The most recent Supreme Court opinion on methods of execution once again

12    noted the availability of “execution by firing squad” has long been understood as

13    “[c]onsistent with the Constitution’s original understanding” “that the Eighth Amendment

14    forbade the gruesome methods of execution described by Blackstone [in Commentaries on

15    the Laws of England].” Bucklew v. Precythe, 139 S. Ct. 1112, 1123 (2019) (discussing
16    Wilkerson v. Utah, in approval). In underscoring the Bucklew majority opinion’s
17
      “statement that ‘we see little likelihood that an inmate facing a serious risk of pain will be
18
      unable to identify an available alternative,’” Justice Kavanaugh highlighted the State of
19
      Missouri as well as Justice Sotomayor’s emphases on the availability of this alternative,
20
      with the latter having previously described it as “an alternative method of execution that
21

22

23    25
         Deborah W. Denno, The Firing Squad as “A Known and Available Alternative Method
      of Execution” Post-Glossip, 49 U. Mich. J. Law Ref. 749, 778 (2016) (citing M. Watt
24    Espy & John Ortiz Smykla, EXECUTIONS IN THE UNITED STATES: 1608-1987 at I (1987).
25
                                                   44
26
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 1    generally causes an immediate and certain death, with close to zero risk of a botched

 2    execution.” Id. at 1136 (Kavanaugh, J., concurring) (citing Arthur v. Dunn, 137 S. Ct. 725,
 3    733-34 (2017) (Sotomayor, J., dissenting from denial of certiorari).
 4
              169.   The basic operation of a firing squad is well known, and simply encompasses
 5
      “multiple riflemen firing simultaneously” upon the subject. Ex. 28 at 8. Medical knowledge
 6
      of the effects gunshot wounds have on the body is extensive. Id. at 4. Two ways of assuring
 7
      an immediate and painless death are well established: targeting the cardiovascular bundle
 8
      and the brainstem. Id. The cardiovascular bundle is “the aggregate anatomic region
 9
      comprising the heart and the large arteries and veins near to and with the mediastinum.”
10

11    Id. at 9.

12            170.   The traditional manner of firing squad executions targets the former, viz., the

13    heart and the great vessels which lead to and from it in the chest, thereby denying the blood

14    supply to the central nervous system. Id. “When the firing squad’s bullets strike the heart

15    and great vessels, the immediate effect is to cause cessation of blood circulation at its
16    source.” Id. The resulting “trauma to the cardiovascular bundle” immediately “cause[s]
17
      cessation of blood circulation at its source,” by either (a) stopping the heart
18
      “electrophysiologically (by cessation of organized beating),” (b) “structurally disrupt[ing
19
      the heart ] to the point of being unable to generate pulse pressure,” or (c) disrupting “the
20
      arteries leading from the heart [such that] blood flowing out of the heart cannot be delivered
21
      to the brain and body.” Id. “[T]he net effect is a catastrophic drop in blood pressure in the
22
      brain.” Id. “The brain’s function depends upon a continuous supply of oxygen via the
23

24    blood, and if that blood supply is stopped, loss of consciousness ensues within a matter of

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 1    10 seconds or less, and cortical/brainstem death inevitably follows within a matter of

 2    minutes.” Id. at 5.
 3              171.   Longstanding “medical knowledge of the terminal effects of cardiovascular
 4
      bundle gunshot wounds,” reflects that death occurs rapidly. Id. at 5, citing M. Fackler,
 5
      “Gunshot Would Review,” 28 Annals of Emergency Medicine Vol. 2, 194-203 (1966);
 6
      V.J.M. DiMaio, Gunshot Wounds: Practical Aspects of Firearms, Ballistics, and Forensic
 7
      Techniques (2d Ed. 1999) CRC Press.
 8
                172.   Further, experience reflects that this manner of death, by gunshot wound to
 9
      the cardiovascular bundle, causes “minimal pain.” Ex.28 at 5. For instance, “field medics
10

11    in the U.S. Armed Forces” report “that the response to being shot with a rifle in the chest

12    can be highly variable, depending on range, ballistic trajectory, and point and angle of

13    impact, and the anatomic path of the bullet within the body.” Id. It is understood that

14    “subjects who are shot in the central chest (cardiovascular bundle) typically exhibit no life

15    signs when examined, even when the time between injury and examination is only a matter
16    of a few (five to fifteen) seconds.” Id. Specific inquiries of death by firing squad
17
      substantiate this “short interval between gunshot wound to the chest and death.” Id. For
18
      instance, a published electrocardiogram from a 1938 firing squad execution reflects that
19
      “the subject experienced immediate onset of ventricular fibrillation after bullet impact.” Id.
20
      at 5-6.
21
                173.   While death occurs rapidly from gunshot wounds to the cardiovascular
22
      bundle, the loss of consciousness and therefore the capacity to feel pain is effectively
23

24    instantaneous. This “immediate onset of ventricular fibrillation” or “arrhythmia typically

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 1    causes loss of consciousness almost immediately,” rendering the subject “insensible to

 2    pain.” Id.
 3            174.   Survivors of thoracic gunshot wounds inform an understanding of pain levels
 4
      from such gunshot wounds. “Invariably, these persons describe the sensation as being that
 5
      of a severe blunt blow to the chest, like a hard punch, or being struck with a club or bat.”
 6
      Id. at 6.
 7
              175.   The simplicity of the firing squad presents an exceedingly low risk of a
 8
      botched execution due to executioner error. Id. at 7. Individuals capable, by virtue of their
 9
      familiarity with the use of firearms, to participate in a firing squad are in abundance. Id.
10

11    Arizona possesses more than 14,500 sworn officers licensed to carry and use a firearm. Id.

12            176.   The feasibility of the firing squad method is well-established as “a traditional

13    and common means of execution since at least the 19th Century.” Id. As noted above, Utah

14    has long provided execution by firing squad as a statutory method of execution. Utah Code

15    Ann. § 77-19-10(3).26 In 2015, Oklahoma revised its execution statute to contemplate
16    firing squad as an alternative contingent upon the legal or actual unavailability of other
17
      methods. Okla. Stat. tit. 22, § 1014(D).27 Effective May 14, 2021, South Carolina’s
18

19    26
         The Utah Code provides firing squad as an alternative to lethal injection, pursuant to a
20    “court hold[ing] that a defendant has a right to be executed by a firing squad,” § 77-18-
      113(2), or “[i]f a court holds that execution by lethal injection is unconstitutional on its
21    face,” § 77-18-113(3)(a), or “that lethal injection is unconstitutional as applied.” § 77-18-
      113(3)(b). Further, “the method of execution for the defendant is the firing squad if the
22    sentencing court determines the state is unable to fully obtain the substance or substances
      necessary to conduct an execution by lethal intravenous injection 30 or more days before
23    the date specified in the warrant issued upon a judgment of death [].” § 77-18-113(4).
      27
         Okla. Stat. tit. 22, § 1014(A) specifies the method of lethal injection, and, under §
24    1014(B), if that method “is held unconstitutional by an appellate court of competent
25
                                                    47
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 1    execution statute provides electrocution as its method but permits the choice of either

 2    “firing squad or lethal injection, if it is available at the time of election.” S.C. Code Ann. §
 3    24-3-530. 28 Effective July 1, 2022, Mississippi’s execution statute will provide the
 4
      Commissioner and other officials of the Department of Corrections the discretion to
 5
      designate either lethal injection, nitrogen hypoxia, electrocution, or firing squad, with the
 6
      stated “preferred method” being lethal injection. Miss. H.B. No. 1479, amending Miss.
 7
      Code § 99-19-51.
 8
             177.   Historically, rifles have been the conventional choice for firing squads. Ex.
 9
      28 at 8. Historical practice also supports the use of “no fewer than five and the maximum
10

11    no more than ten” rifles. Id. Typically, the given “squad’s rifles are aimed at the central

12    lower one-third of the condemned man’s chest, in the vicinity of the heart. The primary

13    purpose of this aiming point is to yield a quick death, and the secondary purpose is to avoid

14    disfiguring the face and head of the person being shot.” Id. at 9.

15           178.   Existing firing squad protocol from Utah, which used this method last in
16    2010 (supra), presents a very straight forward set of steps:
17
              a. The condemned is secured in a seated position, with an aiming point or target
18               affixed to the chest;

19

20
      jurisdiction or is otherwise unavailable, then the sentence of death shall be carried out by
21    nitrogen hypoxia,” and if both preceding methods are deemed unconstitutional or
      unavailable, then by electrocution, § 1014(C). Firing squad is available if the three
22    preceding methods are ruled out.
      28
         Two men recently scheduled for executions challenged the constitutionality of this
23    method and their dates were stayed pending determination of the question in the South
      Carolina Supreme Court. Caitlin Byrd and Maayan Schechter, “SC Supreme Court stays
24    April execution by firing squad, another one set for May,” The State, Apr. 25, 2022.
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 1            b. The firing squad, consisting of 5 riflemen, faces the condemned at a distance
                 of 21 feet, armed with service rifles of .30 caliber;
 2
              c. The squad’s rifles are loaded with 2 rounds each by the squad commander;
 3               one of the rifles is loaded with blank cartridges, but the members of the firing
                 squad are not aware of which rifle is so loaded prior to firing;
 4            d. On the order of the D.O.C. Director or his Designee, the firing squad
                 commander gives the order to fire, and all 5 riflemen discharge their rifles at
 5
                 the target on the condemned man’s chest simultaneously;
 6            e. Three minutes after the first volley, the attending physician examines the
                 condemned to determine if life signs are present; if so, he continues to check
 7               for life signs every 1 minute to a maximum of 10 minutes; and if life signs are
                 still present, a second volley shall be fired;
 8
              f.    If, after the first volley, the condemned shows obvious signs of life or
 9                 consciousness, a second volley shall be immediately fired.
      Ex. 28 at 9-10 (see also Appendix B to Ex. 28 for a copy of this protocol).
10

11           179.    The positioning of the condemned requires the person’s firm restraint “so an

12    accurate aiming point may be established.” Id. at 10. Further, it is advised to affix “[a]

13    circular target roughly 3-4 inches in dimension . . . over the lower 1/3 of the subject’s

14    sternum, overlapping the left sternal border, but not overlapping the inferior margin or right

15    border of the sternum.” Id. Such targeting “direct[s] the riflemen’s bullets into the upper
16    half of the heart, where the pace-making structures of the heart reside, or into the aorta and
17
      other great vessels, where the outflow of blood from the heart proceeds.” Id.
18
             180.    Beyond considerations about the seated positioning of the condemned,
19
      various details further define the basic workings of the method. These include the distance
20
      from the rifleman to the target, and the presence of a “backstop … behind the body of the
21
      condemned,” which “should consist of a lawyer of ballistically absorbent material such as
22
      layers of lumber or sandbags.” Id. at 11.
23

24           181.    As noted herein, Mr. Atwood has been disabled since 2015 and needs the aid

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 1    of a wheelchair. Application of “the foregoing firing squad procedures for him while he is

 2    seated in a standard wheelchair” is entirely feasible. Id.at 10. Further, Mr. Atwood “could
 3    be placed in a purpose-built seat and secured to it” for a standard firing squad procedure.
 4
      Id.
 5
      VIII. CLAIMS FOR RELIEF
 6
                                              Claim I
 7          42 U.S.C. § 1983 – Eighth and Fourteenth Amendments, As-Applied to Plaintiff

 8          182.      All prior paragraphs of this Complaint are hereby incorporated into this claim
 9    by reference.
10
            183.      Frank Atwood was convicted and sentenced to death in 1987. Article XXII,
11
      § 22 of the Arizona Constitution, provides that individuals sentenced to death for an offense
12
      committed before November 23, 1992, “shall have the choice of either lethal injection or
13
      lethal gas” as the method of execution. See also A.R.S. § 13-757.
14
               a. Defendants’ lethal injection procedures as-applied to Plaintiff violate the
15                Cruel and Unusual Punishments Clause
16          184.      Due to Frank Atwood’s long-standing chronic disease afflicting his vertebral
17
      bodies stemming from severe spondylosis, a degenerative spinal disease worsened over
18
      time by Defendants’ deliberate indifference to the provision of his needed medical attention
19
      while Plaintiff has been in their custody, a lethal injection execution by application of the
20
      Department’s Execution Procedures will inflict maximally severe pain upon him,
21
      irrespective of the quality or adequacy of the compounded pentobarbital sodium designated
22
      for use in his execution.
23

24          185.      Defendant’s application of the lethal injection procedures under the

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 1    Department’s Execution Procedures requires securing Mr. Atwood by restraints on his

 2    limbs to affix him in a lying position to the Department’s execution table. In imposing this
 3    position and restraint to the execution table, Defendants will inflict severe pain on Mr.
 4
      Atwood due to his longstanding lumbar and cervical spinal and nerve conditions and the
 5
      acute, maximal pain he experiences when lying flat, which emanates from numerous
 6
      regions of his lower extremities associated with specific, severely compromised vertebrae.
 7
         186.       The Department’s Execution Procedures gives Defendant Director Shinn
 8
      discretion to instruct the Department’s “IV Team Leader” to insert a central femoral venous
 9
      line in conducting a lethal injection. The insertion of a femoral central line to Mr. Atwood
10

11    would require him to lie flat, with his hips extended. Mr. Atwood cannot achieve that

12    positioning without experiencing maximal pain. Due to the degree of pain that would result

13    from that positioning, Mr. Atwood would likely involuntarily jerk and writhe without

14    control of his movements during any attempt to establish a femoral line.

15       187.       Mr. Atwood is unable to sustain physical positioning to permit the use of a
16    femoral central line for any length of time without experiencing severe pain.
17
         188.       Thus, as a further consequence of Mr. Atwood’s spinal and nerve condition
18
      that would cause the acute, unmanageable pain that results when he is made to lie flat on
19
      his back, Defendants’ application of the Department’s Execution Procedures in relation to
20
      the discretion of Defendant Director Shinn to direct the Department’s “IV Team” to insert
21
      a central femoral intravenous line would inflict maximal pain and substantially risk the
22
      laceration of Mr. Atwood’s femoral artery, bladder, bowels, or other internal organs in
23

24    connection to the lethal injection procedures, greatly increasing the risk of adding further

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 1    severe pain and additional dire health risks in the course of the execution. Defendants’

 2    discretion under the Department’s procedures is highly susceptible to compromising the
 3    viability of the execution itself.
 4
             b. Various readily implemented alternatives exist:
 5
                     1. Alternatives to unconstitutional restraint to execution table
 6
         189.        Assuming the establishment of the quality and adequacy of the compounded
 7
      pentobarbital sodium designated for use in his execution, readily implemented alternatives
 8
      in conducting a lethal injection execution without inflicting severe pain exist.
 9
         190.        Defendants may restrain Mr. Atwood while he remains seated in his
10

11    wheelchair, then establish a non-femoral intravenous line and administer to him in this

12    position a lawful, pharmaceutically adequate compounded pentobarbital sodium.

13       191.        Defendants may perform readily available medical procedures, including

14    interventional pain modalities such as fluoroscopically-guided injections, and surgical

15    procedures as determined through consultation with an orthopedic spine surgeon or
16    neurosurgeon to address Mr. Atwood’s condition substantially caused by the deliberate
17
      indifference of the Defendants over a span of years.
18
                     2. Alternatives to lethal injection
19
         192.        Additional readily implemented alternatives to a lethal injection execution
20
      that would not superadd extraordinary pain exist.
21
         193.        A competently administered lethal dose of nitrogen gas, which would cause
22
      death by nitrogen hypoxia, or the use of a noble gas, such as helium or xenon, for lethal
23

24    gas purposes provide alternatives plainly within Arizona’s existing constitutional and

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 1    statutory framework.

 2       194.       Further, the Department’s explicit lethal gas procedures under its Execution
 3    Procedures establish that Arizona is the only jurisdiction currently equipped with a
 4
      purportedly functional gas chamber. While other jurisdictions present gas or nitrogen
 5
      hypoxia as a statutory method of execution, none other than Arizona presently purports to
 6
      be able to conduct such an execution.
 7
         195.       The Department has possessed its current gas chamber since circa 1949,
 8
      having reportedly refurbished it in some manner recently. Defendants face no legal obstacle
 9
      to electing nitrogen gas (or various other options among the noble gases, supra), as plainly
10

11    evidenced by the Department’s designation of hydrogen cyanide gas, the use of which was

12    held to violate the Cruel and Unusual Punishments Clause by the Ninth Circuit Court of

13    Appeals over 25 years ago, Fierro v. Gomez, 77 F.3d 301 (9th Cir. 1996), though the

14    Supreme Court vacated and remanded that decision for reconsideration in light of

15    amendments to the California death penalty statute altering, during the pendency of the
16    Fierro petition for writ of certiorari, the grounds of the prisoners’ standing and the ripeness
17
      of the challenge to the method of cyanide gas.
18
         196.       The use of nitrogen gas or a noble gas, if administered competently, would
19
      not present a substantial risk of superadding pain. Nitrogen hypoxia is known to be
20
      painless.
21
         197.       The firing squad presents another readily implemented alternative to methods
22
      under the Execution Procedures that would not superadd extraordinary pain. This is not a
23

24    statutory alternative under current Arizona law. Both Utah and Oklahoma have long

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 1    provided this statutory option, while South Carolina has recently taken legislative steps to

 2    include it.
 3       198.         The first recorded use of a firing squad for capital punishment in the United
 4
      States occurred over four hundred years ago, in 1608, and by 1879, the Supreme Court
 5
      upheld a death sentence by firing squad, Wilkerson v. Utah, 99 U.S. 130, 134-35 (1879),
 6
      an authority that remains good law. Bucklew v. Precythe, 139 S. Ct. 1112, 1123 (2015))
 7
      (citing Wilkerson and “the Constitution’s original understanding … permit[ing] an
 8
      execution by firing squad”).
 9
             c. Conclusion
10

11       199.         Defendants’ intention to gratuitously inflict severe pain for an extensive

12    period under the Department’s Execution Procedures for lethal injection, as applied to Mr.

13    Atwood, who is physically disabled, irrespective of the quality or adequacy of the

14    compounded pentobarbital sodium designated for use in his execution, violates the Cruel

15    and Unusual Punishments Clause of the Eighth Amendment and the Due Process Clause
16    of the Fourteenth Amendment of the United States Constitution.
17
         200.         Atwood hereby realleges and incorporates by reference the preceding
18
      paragraphs in this Complaint.
19
                                              Claim II
20                        42 U.S.C. § 12101- Americans With Disabilities Act

21       201.         All prior paragraphs of this Complaint are hereby incorporated into this claim
22    by reference.
23
         202.         A primary purpose of the Americans with Disabilities Act (“ADA”), 42
24

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 1    U.S.C. § 12101, et seq., enacted July 26, 1990, is to ensure that people with disabilities

 2    receive accommodations to participate in the programs, services, and activities offered by
 3    public entities.
 4
         203.        The ADA defines a “public entity” to include any state or local government
 5
      or any department, agency, special purpose district, or other instrumentality of a State or
 6
      local government, 42 U.S.C. § 12131(1). The Department is a “public entity” within the
 7
      meaning of the ADA, of which Defendants are officers responsible for exercising control
 8
      and authority over its operations.
 9
         204.        The ADA also prohibits public entities from providing individuals who have
10

11    disabilities with separate or unequal benefits or services. The ADA, and specifically 42

12    U.S.C. §§ 12131-12134, prohibits discrimination in public services on the basis of

13    disability.

14       205.        Frank Atwood has a physical impairment that substantially limits one or

15    more of his major life activities, and, thus, he is an individual with disabilities within the
16    meaning of the ADA, 42 U.S.C. § 12102(2). The Department has recognized Mr. Atwood’s
17
      disability under the ADA for many years.
18
         206.        Currently with respect to Mr. Atwood, the Department offers a “service,
19
      program, or activity,” namely an execution that is not unnecessarily painful, for which Mr.
20
      Atwood meets the essential eligibility requirements, as do all death-sentenced inmates, by
21
      constitutional necessity. Thus, Mr. Atwood is a “qualified individual with disabilities”
22
      within the meaning of the ADA, 42 U.S.C. § 12131(2).
23

24       207.        Under the lethal injection procedures in the Department’s Execution

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 1    Procedures, and irrespective of the quality of the compounded pentobarbital sodium

 2    designated for use in his execution, Defendants will secure Mr. Atwood in a supine, or
 3    lying down, position by restraints attached to the Department’s execution table, which will
 4
      inflict severe pain and thereby exclude Mr. Atwood from participation in their services,
 5
      programs, and activities, and, solely by reason of his disability, deny him the rights and
 6
      benefits (i.e., an execution without superadding severe pain) accorded to other prisoners
 7
      who are executed, in violation of the ADA.
 8
         208.       In addition, Defendants have violated the ADA by intentionally failing or
 9
      refusing to provide reasonable accommodations and modifications to policies, practices,
10

11    and procedures to Mr. Atwood.

12       209.       The Defendants have willfully disregarded their duties under the ADA and

13    have knowingly allowed unlawful conditions and practices to continue in the Department’s

14    Execution Procedures as applied to Mr. Atwood.

15       210.       Despite the clear provisions of the ADA, the Defendants persist in imposing
16    conditions and practices that discriminate against Mr. Atwood in relation to the application
17
      of its lethal injection procedures under the Department’s Execution Procedures.
18
         211.       As a direct and proximate result of the acts, omissions, and violations alleged
19
      above, Plaintiff will suffer damages, including but not limited to severe pain and suffering
20
      and the resulting infringement upon his religious exercise at the moment of his death, in
21
      violation of the Americans with Disabilities Act, 42 U.S.C. § 12101, et seq.
22
                                              Claim III
23
                                 29 U.S.C. § 794 - Rehabilitation Act
24

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 1

 2       212.       Section 504 of the Rehabilitation Act of 1973 (29 U.S.C. § 794 et seq.)
 3    guarantees that people with disabilities will not be excluded from participating in any
 4
      program or activity, solely on the basis of their disability, by any entity that receives federal
 5
      financial assistance.
 6
         213.       On information and belief, the Department, of which Defendants are officers
 7
      responsible for exercising control and authority over its operations, receives federal
 8
      funding for the operation of certain of its programs.
 9
         214.       Frank Atwood is an individual with a disability within the meaning of the
10

11    Rehabilitation Act of 1973.

12       215.       Mr. Atwood is qualified to participate in the services, programs, activities,

13    and benefits Defendants provide to prisoners within the meaning of the Rehabilitation Act

14    of 1973, including executions that do not inflict severe pain.

15       216.       Defendants have discriminated against Mr. Atwood on the basis of disability
16    in violation of 29 U.S.C. § 794 and its implementing regulations. Such discrimination
17
      includes but is not limited to failure to provide reasonable modifications and
18
      accommodations of their Execution Procedures, as required to comply both with the Eighth
19
      Amendment’s prohibition against the infliction of cruel and unusual punishment, and with
20
      the Department’s Execution Procedures, which states “The Department shall make every
21
      effort in the planning and preparation of an execution to ensure the execution process:
22
      Faithfully adheres to constitutional mandates against cruel and unusual punishment.”
23

24    Execution Procedures at page 1.

25
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 1       217.       Defendants have acted with deliberate indifference to the strong likelihood

 2    that, without accommodations and modifications, application to Mr. Atwood of the
 3    Department’s lethal injection procedures under its Execution Procedures, irrespective of
 4
      the quality of the compounded pentobarbital sodium designated for use in his execution,
 5
      would likely result in a violation of federally protected rights.
 6
         218.       Defendants are denying Mr. Atwood access to programs, benefits and
 7
      services provided to other prisoners for which he is qualified to participate, in the form of
 8
      an execution that is not unnecessarily painful, solely on the basis of his disability, thereby
 9
      violating the Rehabilitation Act of 1973.
10

11       219.       Despite the clear provisions of the Rehabilitation Act of 1973, the

12    Defendants persist in imposing conditions and practices that discriminate against Mr.

13    Atwood.

14       220.       As a direct and proximate result of the acts, omissions, and violations alleged

15    above, Plaintiff will suffer damages, physical injuries, including but not limited to
16    excruciating pain and suffering. Plaintiff has been injured and aggrieved by and will
17
      continue to be injured and aggrieved by Defendants’ discrimination, in violation of the
18
      Rehabilitation Act of 1973 (29 U.S.C. § 794 et seq.).
19
                                             Claim IV
20          42 U.S.C. § 1983 – Violation of Fourteenth Amendment – Equal Protection

21
         221.       Plaintiff hereby incorporates all other paragraphs in the Complaint as if fully
22
      set forth herein.
23

24       222.       Mr. Atwood is disabled.

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 1       223.         In applying the lethal injection procedures in the Department’s Execution

 2    Procedures, irrespective of the quality of the compounded pentobarbital sodium designated
 3    for use in his execution, Defendants will inflict severe pain upon him solely on the basis of
 4
      Mr. Atwood’s disability.
 5
         224.         Defendants are discriminating against Mr. Atwood because of his disability.
 6
         225.         Defendants have provided no legitimate governmental purpose for
 7
      discriminating against Mr. Atwood.
 8
         226.         As a direct and proximate result of Defendants discriminatory treatment, Mr.
 9
      Atwood will suffer damages, including but not limited to severe pain and suffering, in
10

11    violation of the Equal Protection Clause of the Fourteenth Amendment to the United States

12    Constitution.

13                                           Claim V
           42 U.S.C. § 1983 – Violation of Fourteenth Amendment – Due Process of Law
14                         (Procedural Due Process — lethal injection)

15           227.      Mr. Atwood hereby realleges and incorporates by reference the preceding
16    paragraphs in this Complaint.
17
         228.         Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully
18
      set forth herein.
19
         229.         Under the Department’s Execution Procedures, D.O. 710, Att. D, ¶ A.1.III.
20
      and ¶ C.2, Mr. Atwood has a state-created liberty interest and a right to procedural due
21
      process in the use of execution chemicals that (i) have an expiry, known in pharmaceutical
22
      terms as a beyond-use date, or BUD, later than the execution date of June 8, 2022, under
23

24    Mr. Atwood’s current warrant, and (ii) have been subjected to a scientifically valid

25
                                                     59
26
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 1    quantitative analysis performed and provided to Mr. Atwood by ten calendar days after the

 2    State of Arizona’s motion, by Defendant Brnovich, for an execution warrant in the Arizona
 3    Supreme Court filed on April 7, 2022.
 4
            230.      Defendants specifically and intentionally removed from the Department’s
 5
      Execution Procedures, last revised April 20, 2022, language included in prior protocols
 6
      that stated the Execution Procedures “does not create any legally enforceable rights or
 7
      obligations.”29
 8
            231.      In securing the current warrant from the Arizona Supreme Court ordering
 9
      Mr. Atwood’s execution on June 8, 2022, Defendant Brnovich repeatedly between April
10

11    2021 and April 2022 invoked the Defendants’ specific legal obligations concerning

12    quantitative analysis and BUD under the Execution Procedures as necessitating certain

13    relief from the Arizona Supreme Court in the scheduling of execution warrants.

14          232.      On January 5, 2022, Defendant Brnovich renewed his motion in the Arizona

15    Supreme Court for a briefing schedule for an execution warrant for Plaintiff, having
16    similarly moved that court on January 5, 2021. On both occasions, Defendant Brnovich
17
      invoked Defendants’ obligations under the Execution Procedures with respect to the
18
      preparation of lethal injection chemicals as the basis for the special relief he thereby sought
19
      from the Arizona Supreme Court. On April 5, 2022, premised upon his invocation of the
20
      legal obligations of Defendants concerning the specific compounding requirements stated
21
      in the Execution Procedures, the Arizona Supreme Court granted Defendant Brnovich the
22

23

24    29
           Supra n.#, Jan. 11, 2017 iteration.
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 1    relief that he sought and entered a scheduling order.

 2          233.      On April 7, 2022, Defendant Brnovich moved the Arizona Supreme Court
 3    for the present warrant to execute Plaintiff, which that court granted on May 3, 2022,
 4
      scheduling the June 8, 2022 execution date.
 5
            234.      Defendant Brnovich invoked Defendants’ certain obligations in relation to
 6
      lethal injection chemicals that would be prepared specifically for executing Mr. Atwood
 7
      under the Execution Procedures while ignoring the substance of these very obligations.
 8
            235.      Defendants are depriving Plaintiff of his resulting liberty interest and
 9
      procedural due process by failing to evidence, by any valid method, that the compounded
10

11    chemicals Defendants have specifically prepared for executing Mr. Atwood possesses a

12    BUD later than the ordered execution date of June 8, 2022, and otherwise establishing that

13    these chemicals are adequate for the intended execution purpose as adduced in quantitative

14    analysis provided by ten calendar days from the above execution warrant motion on April

15    7, 2022.
16          236.      Under the Execution Procedures, Defendants, “[u]pon receipt of the Warrant
17
      of Execution,” (which for Plaintiff was entered on May 3, 2022, and immediately
18
      transmitted to Defendants, who directly served Mr. Atwood individually), “the Housing
19
      Unit 9 Section Leader” (who is either Defendant Kimble or would report to him), “shall . .
20
      . [e]nsure that complete sets of chemicals are on site, 30 not expired, and immediately
21
      available for use.” Ex. 4, Att. D., ¶ A.1.III. As noted, Defendants are further obligated to
22

23

24    30
           The Housing Unit 9 site contains the execution room and gas chamber.
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                                                    61
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 1    “only use chemicals in an execution that have an expiration or beyond-use date that is after

 2    the date that an execution is carried out.” Id.
 3       237.       In Defendant Brnovich’s submissions to the Arizona Supreme Court, he
 4
      expressed his office would disclose the required “quantitative analysis” testing within 10
 5
      days of his motion for a warrant and would at that time also “include certification of the
 6
      beyond-use date.” Defendant has not, nor has anyone else, disclosed any such certification.
 7
         238.       Notwithstanding the foregoing, Defendants have failed even to state a BUD
 8
      for the execution chemicals designated for the execution of Plaintiff under his present
 9
      warrant.
10

11       239.       Further, Defendants failed to submit scientifically valid quantitative analysis

12    by the appointed date pursuant to Defendant Brnovich’s warrant motion on April 7, 2022.

13       240.       Defendants are depriving Mr. Atwood of this liberty interest by failing to

14    provide any BUD, much less a scientifically valid one, pursuant to the Execution

15    Procedures.
16       241.       Defendants are depriving Mr. Atwood of this liberty interest by failing to
17
      provide a scientifically valid quantitative analysis of the compounded chemicals pursuant
18
      to the Execution Procedures that Defendants have designated for use in a lethal injection
19
      of Mr. Atwood.
20
         242.       Defendants’ failure to establish a BUD for, and to submit a quantitative
21
      analysis of, their execution chemicals prepared for executing Plaintiff pursuant to the
22
      Execution Procedures precludes the use of these specific chemicals and any other specific
23

24    chemicals with which Defendants would seek to replace them.

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 1       243.       Defendant’s retained compounding pharmacist, Defendant Doe, who is

 2    anonymous, has prepared execution chemicals for Defendants prior to, and specifically for,
 3    Plaintiff’s execution. Defendant’s pharmacist has attested to being an Arizona-licensed
 4
      pharmacist and to “follow[ing] the guidelines and requirements found in the United States
 5
      Pharmacopeia” in preparing the high-risk compounded sterile preparations of injectable
 6
      pentobarbital sodium, as specifically designated by Defendant Brnovich and other
 7
      Defendants under the Execution Procedures.
 8
         244.       Defendants are further violating Mr. Atwood’s rights by failing to establish
 9
      basic compliance of the Department’s compounding pharmacist with the pharmaceutical
10

11    standards and specific compendium requirements of the United States Pharmacopeia and

12    The National Formulary for its compounding of chemicals designated for Mr. Atwood’s

13    June 8, 2022, execution date.

14       245.       The Department’s Execution Procedures provides no process for challenging

15    Defendants’ failure to comply with these obligations governing the preparation of its lethal
16    injection chemicals, or for adjudicating Defendants’ adherence to them.
17
         246.       Defendants refuse to provide Plaintiff the opportunity to be heard in person,
18
      or otherwise, in order to present witnesses and documentary evidence, to confront and
19
      cross-examine adverse witnesses, or to have evidence against Defendants disclosed for
20
      consideration in the application of their legal obligations under the Execution Procedures.
21
         247.       Plaintiff may suffer damages, including but not limited to the extraordinary
22
      indignity and harm of a botched execution that may inflict severe pain in ending his life or
23

24    leave him in a vegetative or severely disabled state as a direct and proximate result of

25
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 1    Defendants’ failure to provide Mr. Atwood sufficient process to challenge the conduct of

 2    his execution with compounded pentobarbital sodium solution that (a) do not have an
 3    established BUD later than the scheduled execution date, (b) have not been subjected to
 4
      scientifically valid quantitative analysis, and (c) have not been compounded in satisfaction
 5
      of basic medical and pharmaceutical standards (see compendium requirements, USP).
 6
         248.       Plaintiff may suffer damages, including but not limited to the extraordinary
 7
      indignity and harm of a botched execution that may inflict severe pain in ending his life
 8
      and/or leave him in a vegetative or severely disabled state as a direct and proximate result
 9
      of Defendant Doe’s failure to non-negligently prepare, and the other Defendants’ failure to
10

11    ensure such non-negligent preparation of, the compounded pentobarbital sodium solution

12    designated for Mr. Atwood’s execution. These damages may result from Defendant Doe’s

13    failure to prepare this compounded pentobarbital sodium solution adequately to ensure

14    these drugs (a) have an established BUD later than the scheduled execution date, (b) have

15    been subjected to scientifically valid quantitative analysis, and (c) have not been
16    compounded in satisfaction of basic medical and pharmaceutical standards standards (see
17
      compendium requirements, USP).
18
         249.       Executing Mr. Atwood pursuant to the Execution Procedures’ lethal injection
19
      procedures will violate his right to procedural due process under the Fourteenth
20
      Amendment to the United States Constitution.
21
                                            Claim VI
22        42 U.S.C. § 1983 – Violation of Fourteenth Amendment – Due Process of Law
                         (Procedural Due Process — lethal gas option)
23

24

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 1       250.       Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully

 2    set forth herein.
 3       251.       Enactment of Article XXII, § 22 of the Arizona Constitution in 1933
 4
      established lethal gas as the method of execution for the state’s death penalty
 5
         252.       The current amendment to Article XXII, § 22 of the Arizona Constitution,
 6
      provides that individuals sentenced to death for an offense committed before November
 7
      23, 1992, “shall have the choice of either lethal injection or lethal gas” as the method of
 8
      execution. This state-created interest is further enshrined in legislation, A.R.S. § 13-
 9
      757(B). Neither the Arizona Constitution nor Arizona statute specifies the nature of the gas
10

11    the Department shall use in the lethal gas method.

12       253.       Plaintiff was convicted and sentenced to death by the Arizona Superior Court

13    in 1987, thus the underlying offense was committed before November 23, 1992, and this

14    choice applies to Mr. Atwood.

15       254.       Plaintiff has a state-created liberty interest, as established by the Arizona
16    Constitution and Arizona statute, in choosing the method that the Defendants use to execute
17
      him.
18
         255.       Plaintiff further has a state-created liberty interest in Defendants refraining
19
      from conduct that would gratuitously inflict extreme pain and suffering or from other
20
      conduct that renders either statutory method of execution in violation of the constitutions
21
      of Arizona or the United States, or other law.
22
         256.       The Department’s Execution Procedures contained in Attachment E, which
23

24    Defendants promulgate, interpret, and apply in the course of their duties, provide that

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 1    hydrogen cyanide gas, known as Zyklon B when Nazi Germany deployed it for mass

 2    exterminations, shall be the lethal gas.
 3       257.       As the Arizona Supreme Court specified in its execution warrant entered
 4
      May 3, 2022, Arizona statute provides twenty days from the given execution date for the
 5
      condemned individual to choose between injection and gas methods. A.R.S. § 13-757(B).
 6
      With respect to Mr. Atwood’s current date of June 8, 2022, he has been entitled to make
 7
      such a choice through the date of the present Complaint, May 19, 2022.
 8
         258.       The Arizona Constitution, itself, does not delimit a period for choosing an
 9
      execution method pursuant to a pending execution warrant. Ariz. Const. Art. XXII, § 22.
10

11       259.        Historical and legal precedent, confirmed by scientific study, establish that

12    execution by hydrogen cyanide lethal gas would gratuitously inflict extreme pain, plainly

13    violating the prohibition against the infliction of cruel and unusual punishment under the

14    Eighth Amendment to the United States Constitution.

15       260.       Plaintiff, (Mr. Atwood, individually), submitted a written grievance of this
16    issue to Defendants on or around May 1, 2022, who refused to process his grievance.
17
      Plaintiff sought to appeal the decision, which Defendants also refused to process.
18
         261.       Plaintiff’s counsel have written counsel in Defendant Brnovich’s office and
19
      general counsel for other Defendants on May 14 and May 18 to demand remediation of the
20
      rights violation arising from Defendants’ designation of cyanide gas. Plaintiff specifically
21
      “respectfully demand[ed] that the State immediately designate a constitutional lethal gas
22
      method under the Department’s Execution Procedures so he may have his right to choose
23

24    a lethal gas method restored before the State violates § 13-757(B) upon the lapsing of the

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 1    20-day choice period ending 12:01 a.m., May 20.”

 2       262.       On May 19, 2022, Defendant Brnovich’s office, in response, reiterated the
 3    Department “will not be making any changes to its current lethal gas procedures.”
 4
         263.       Defendants exercise unfettered discretion in designating the use of cyanide
 5
      gas for Arizona’s lethal gas method, which negates Plaintiff’s state-law right to choose a
 6
      constitutional method of execution.
 7
         264.       Plaintiff has extraordinary reasons to exercise his right to choose a
 8
      constitutional lethal gas execution, as this choice permits self-help to overcome
 9
      Defendants’ Eighth Amendment, American with Disabilities Act, and Rehabilitation Act
10

11    violations by its lethal injection method.

12       265.       Defendants have entirely denied Plaintiff process before depriving him of his

13    state-law liberty interest in choosing the manner of his execution. Defendants have violated

14    Plaintiff’s right to be heard, in person (or indeed at all), to present witnesses and

15    documentary evidence, to confront and cross-examine adverse witnesses, or to have
16    evidence against him disclosed at a meaningful time and in a meaningful manner.
17
         266.       As a direct and proximate result of Defendants’ failure to provide Mr.
18
      Atwood sufficient process to challenge the deprivation of his liberty interest in choosing
19
      his method of execution, Plaintiff will suffer damages, including but not limited to a
20
      significant likelihood of the gratuitous infliction of extreme pain and suffering, as well as
21
      emotional distress and uncertainty.
22
         267.       Defendants are depriving Plaintiff of the foregoing liberty interest without
23

24    due process of law, in violation of the Due Process Clause of the Fourteenth Amendment

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 1    to the United States Constitution, Ariz. Const. Art. XXII, § 22, and A.R.S. § 13-757(B).

 2                                           Claim VII
                  42 U.S.C. § 1983 – Violation of Eighth Amendment
 3

 4
         268.       Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully
 5
      set forth herein.
 6
         269.       Enactment of Article XXII, § 22 of the Arizona Constitution in 1933
 7
      established lethal gas as the method of execution for the state’s death penalty
 8
         270.       The current amendment to Article XXII, § 22 of the Arizona Constitution,
 9
      provides that individuals sentenced to death for an offense committed before November
10

11    23, 1992, “shall have the choice of either lethal injection or lethal gas” as the method of

12    execution. This state-created interest is further enshrined in legislation, A.R.S. § 13-

13    757(B). Neither the Arizona Constitution nor Arizona statute specifies the nature of the gas

14    the Department shall use in the lethal gas method.

15       271.       Plaintiff was convicted and sentenced to death by the Arizona Superior Court
16    in 1987, thus the underlying offense was committed before November 23, 1992, and this
17
      choice applies to Mr. Atwood.
18
         272.        Plaintiff further has a state-created liberty interest in Defendants refraining
19
      from conduct that would gratuitously inflict extreme pain and suffering or from other
20
      conduct that renders either statutory method of execution in violation of the constitutions
21
      of Arizona or the United States, or other law.
22
         273.       The Department’s Execution Procedures contained in Attachment E, which
23

24    Defendants promulgate, interpret, and apply in the course of their duties, provide that

25
                                                   68
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 1    hydrogen cyanide gas, known as Zyklon B when Nazi Germany deployed it for mass

 2    exterminations, shall be the lethal gas.
 3       274.       Historical and legal precedent, confirmed by scientific study, establish that
 4
      execution by hydrogen cyanide lethal gas would gratuitously inflict extreme pain, plainly
 5
      violating the prohibition against the infliction of cruel and unusual punishment under the
 6
      Eighth Amendment to the United States Constitution.
 7
                                       PRAYER FOR RELIEF
 8
             WHEREFORE, Plaintiff Frank Jarvis Atwood prays that the Court provide relief
 9
      as follows:
10

11       1. That this Court assume jurisdiction of this cause and set this case for a hearing on

12           the merits.

13       2. That this Court issue a declaratory judgment declaring and enforcing Plaintiff’s

14           rights under the Eighth Amendment and, further, issue a temporary restraining

15           order or a preliminary or permanent injunction commanding Defendants not to
16           carry out any execution of Plaintiff unless and until such time as Defendants
17
             remedy the foregoing enumerated violations of Plaintiff’s rights, so that Plaintiff
18
             may be executed in a constitutional manner.
19
         3. Other such relief as this Court deems proper and just.
20

21
                                                              DATED this 19 day of May, 2022.
22
                                                              /s/ Joseph J. Perkovich
23
                                                                      JOSEPH J. PERKOVICH
24

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 1                                                                 AMY P. KNIGHT
                                                            Attorneys for Frank Jarvis
 2
                                                                              Atwood
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